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                                             UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE
·------------------------------------------------------------------------------------------x

In re:
                                                                                               Chapter 11
ALLIED SYSTEMS HOLDINGS, INC.,
                                                                                               Case No. 11-.__
                                                                                                           [_    _.] ([_])
                                                      Alleged Debtor.



·-----------------------------------------------------------------------------------------·X
In re:
                                                                                               Chapter 11
ALLIED SYSTEMS, LTD. (LP.),
                                                                                               Case No.   11- ~
                                                                                                              [ -~]   ([_J)
                                                      Alleged Debtor.

·---------------·----·-··-·----··------·-·-----·--·---·-·-----------------------·-----·--·x

                        AFFIDAVIT OF JEFFREY A. SCHAFFER
             PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 1003

STATE OF NEW YORK  )
                   ) ss:
COUNTY OF NEW YORK )


                          Jeffrey A. Schaffer being duly sworn, deposes and states:

            1.            I make this affidavit on behalf of Spectrum Investment Partners LP ("Spectrum"),

a petitioning creditor in the above-captioned involuntary chapter 11 cases (the "Bankruptcy

Cases") filed by Spectrum and other petitioning creditors against (i) Allied Systems Holdings,

Inc., and (ii) Allied Systems, Ltd. (L.P.) (together, the "Debtors"). I am fully familiar with the

facts set forth herein either through my own personal knowledge or through a review of

documents related to Spectrum's claims against the Debtors. If called to testify in connection

with the Bankruptcy Cases, the following would constitute my testimony.
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       2.      I am the Managing Member of Spectrum Group Management LLC, which is the

investment manager of Spectrum, and am authorized to make this affidavit and to execute a

petition commencing the Bankruptcy Cases on its behalf. Spectrum has its principal place of

business at 1250 Broadway, 19th Floor, New York, New York 10001. Spectrum is a creditor of

the Debtors based upon its status as a lender under that certain Amended and Restated First Lien

Secured Super-Priority Debtor in Possession and Exit Credit and Guaranty Agreement dated as

of March 30, 2007 by and among Allied Holdings, Inc. and Allied Systems, Ltd. (L.P.), as

borrowers, certain subsidiaries of borrowers, as subsidiary guarantors, various lenders, Goldman

Sachs Credit Partners L.P ., as lead arranger and syndication agent, and The CIT Group/Business

Credit, Inc., as administrative and collateral agent (as amended, restated, modified, or

supplemented from time to time, the "First Lien Credit Agreement").

                               The First Lien Credit Agreement

       3.      Pursuant to the First Lien Credit Agreement, various lenders committed to extend

term loans, revolving loans, and synthetic letters of credit to the Debtors in the amount of

$265 million. Due to the accrual of interest and fees, the current outstanding aggregate amount

of the Obligations (as defined in the First Lien Credit Agreement) is approximately $296.4

million. A copy of the First Lien Credit Agreement will be annexed to a declaration in support

of a statement contemporaneously filed by the petitioning creditors.

      4.       Pursuant to the First Lien Credit Agreement, the lenders' commitments under

term loans, revolving loans, and synthetic letters of credit were evidenced by promissory notes.

The claims of Spectrum and other petitioning creditors derive from these notes.

      5.       The Obligations are secured by first priority liens in substantially all of the

Debtors' assets, including, but not limited to accounts, chattel paper, general intangibles, goods,
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instruments, insurance, intellectual property, investment related property, letter of credit rights,

money, receivables, and commercial tort claims. The Obligations are guaranteed by affiliates of

the Debtors.

                                         The Assignments

       6.      By virtue of the execution of several assignment and assumption agreements,

Spectrum received an unconditional transfer and assignment of certain amounts ofloans owed by

the Debtors under the First Lien Credit Agreement (the "Assigned Claims") (the "Assigned

Claims"). Redacted copies of the assignment documentation are attached as Exhibit A.

      7.       The Assigned Claims were not assigned to Spectrum for the purposes of

commencing the Bankruptcy Cases.

      8.       As of the date hereof, the Debtors are indebted to Spectrum in the amount of at

least $21.5 million, together with all accrued and unpaid interest (including default interest), fees

and expenses calculated in accordance with the Credit Agreement.



Dated: May __, 2012
       New York, New York                            ~ER
Sworn to and subscribed before me
This _ day of May, 2012


   thli,~
       Notary Public &
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                          LSTA                                       TRADE CONFIRMATION


      To:        Spectrum lnvenment Partners, L.P.
                  1ttention:
                 Phone No.:
                 Fax No.:
                 Email:
     From:




     Date:
                     ~ed to confirm the following transaction. subject to the Standard Tenns and
     Conditions for . . _ . . r a d e Continuations (the "Standard Terms and Conditions.. ) published by The
     Loan Syndications and Trading Association, lnc.ci9 (the .. LSTA") as of December I. 2006. which Standard
      ferms and Conditions are incorporated herein by reference without any modification whatsoever except as
     otherwise agreed herein by the parties and specifically set forth in the "Trade Specific Other Terms of Trade"
     section below. The parties hereto agree to submit any dispute as to the reasonableness of a buy-in or sell-out
     price to binding arbitrarion in accordance with the LSTA .. Rules Governing Arbitration Between Loan Traders
     With Regard to Failed Trades" in existence on the Trade Date, and to comply with any award or decision issued
     in connection with such an arbitration proceeding. Capitalized terms used and not defined in this Confirmation
     have the respective meanings ascribed thereto in the Standard Tenns and Conditions.


     Trade Date:

     Seller:                    -                                                 0   Principal   D   Agent



     Buyer:                        Spectrum Investment Partners, L.P.             0   Principal   D   Agent


     Credit Agreement:             AMENDED AND RESTATED FIRST LIEN SECURED SLPER-PRIORlTY
                                   DEBTOR IN POSSESSION AND EXIT CREDIT AND GUARANTY
                                   AGREEMENT. dated as of March 30, 2007, as amended and restated as of \11ay 15.
                                   2007 among ALLIED HOLDINGS. !NC.. ALLIED SYSTEMS, LTD. (L.P.). the
                                   Lenders party thereto from time to time. and THE CIT GROUP;BUSINESS CREDIT.
                                   INC .. as Administrative Agent

     Borrower:                     Allied Holdings, Inc., Allied Systems.LTD (L.P.)

     Form of Purchase:             Assignment




i.STA EFFECTIVE DECEMBER :006 Copwd11 0 LST .\ C'.J06 .. \II ngh<s ,mncd.
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                                  Purchase                Tvpe of                       Facilitv        CTSIP
  Purchase Amount/
                                   ~                       Debt                                         \umber
  Type of Debt:
                                                          Re\olver         Synthetic LC
                                                                           Commitment

                                                           Term            T.;rm Loan



  Purchase Rate:




 ll p Front hes:         Synthetic LC Commitment
                                                     --   None
                                                                     Synthetic LC Commitment

                                                                     fcrm Loan



 (if any):


                          ferm Loan           None



 Credit Documentation             No
 to be provided:

 Trade Specific
                                  Recordation Fee is waived.
 Other Terms of Trade:

 Please provide the signature of a duly authorized officer or other signatory where indicated below and
 return this letter to the attention of Aarti Patel at ClearPar at the following fax number (646)453-2870 or
 .:mail address: a.arti.patel@fuis.com
 If you have any questions. please contact Aarti Patel at (845)639-4816.




                                                                     Spectrum Investment Partners, L.P.
                                                                     By: Spectrum Croup Management LLC, as General
                                                                     l'artner


               .         .       . --
                                  ~     '   ......



                                                                     By:

         Name:
         Title:-
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                                              .\SSIGNMENT A:-lD ASSUMPTION AGREEMENT


             This Assignment and Assumption Agreement (the "Assicrnment") is dated as of the Effective Date set forth below
        ~and                       between
        - - - { t h e ·'Assignor" and Spectrum Investment Partners, L.P. (the ·'Assignee"). Capitalized terms
         used but not defined herein shall have the meanings given to them in the Amended and Restated First Lien Senior
        Secured Super-Priority Debtor-in-Possession and Exit Credit and Guaranty Agreement identified below (as it may be
        amended, supplemented or othervtise modified from time to time, the "Credit Agreement"), receipt of a copy of which
        is hereby acknowledged by the Assignee. The Standard Terms and Conditions set forth in Annex 1 attached hereto are
        hereby agreed to and incorporated herein by reference and made a part of this Assignment as if set forth herein in full.
c
              For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and the Assignee
         hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with the Standard Terms
         and Conditions and the Credit Agreement, as of the Effective Date inserted by the Administrative Agent as
         contemplated below, the interest in and to all of the Assignor's rights and obligations under the Credit Agreement and
         any other documents or instruments delivered pursuant thereto that represents the amount and percentage interest
         identified below of all of the Assignor's outstanding rights and obligations under the respective facilities identified
         below (including, to the extent included in any such facilities, letters of credit, LC Deposits and swingline loans) (the
         "Assigned Interest''). Such sale and assigrunent is without recourse to the Assignor and, except as expressly provided
         in this Assignment and the Credit Agreement, without representation or warranty by the Assignor .

•1,      !.   Assignor:


         2.   Assignee:                           Spectrum Investment Partners, L.P.


         3.   Borrower(s):                       Allied Holdings, Inc., Allied Systems, LTD (LP.)


         4.   Administrative Agent:              The CIT Group I Business Credit, Inc., as the administrative agent under the
                                                 Credit Agreement

         5.   Credit Agreement:                  The $265,000,000.00 Credit Agreement dated as of May 15, 2007 among Allied
                                                 Holdings, Inc. ("Holdings"), Allied Systems, Ltd. (LP.) ("Systems"), certain
                                                 Subsidiaries of Holdings and Systems, as Guarantors, the Lenders parties thereto,
                                                 Goldman Sachs Credit Partners L.P., as Administrative Agent, The CIT
                                                 Group/Business Credit, Inc., as Administrative Agent and Collateral Agent and
                                                 the other agents parties thereto
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   6.    Assigned Interest:

                                      Aggregate Amount of            Amount of            Percentage Assigned of
                                     Commitment/Loans/LC        Commitment/Loans/LC       Commitment/Loans/LC
   Facility Assigned                 Deposits for all Lenders     Deposits Assigned              Deposits


    Synthetic LC                         CSD 50,000,000.00
    Commitment
    Term Loan                        CSD 177,300,000.00


    Effective Date: ~

    7.   Notice and Wire lnstructions:

    :Sotices:                                                       Notices:




                                                                   - Spectrum Investment Partners, LP.




   Wire Instructions:                                               Wire Instructions:

                                                                    Currency:            USD
                                                                    Ban.le:
                                                                    ABA#:
                                                                    Account#:
                                                                    Account Name: ~=y & Co., NY
                                                                    FFC:           ~pectrum Investment
                                                                    Partners, L.P.
                                                                    Attn:
                                                                    Reference:     Allied Holdings !st Lien (5/07)
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                                      Chapter 11

ALLIED SYSTEMS HOLDINGS, INC., et al.,1                                     Case No. 12-11564 (CSS)

                          Debtor.                                           (Jointly Administered)



THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS OF ALLIED SYSTEMS HOLDINGS, INC.
and its affiliated debtors,

                          Plaintiff,                                    Adv. Proc. No. 13-50530 (CSS)

BLACK DIAMOND OPPORTUNITY FUND II, LP,
BLACK DIAMOND CLO 2005-1 LTD., AND
SPECTRUM INVESTMENT PARTNERS, L.P.,

                          Intervenor(s),

v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND II, L.P., MARK J. GENDREGSKE,
JOS OPDEWEEGH, JAMES FRANK, DEREX
WALKER, JEFF PELLETIER, IRA TOCHNER, and
JOSEPH TOMCZAK,

                          Defendants.



 1
         The Debtors in these cases, along with the federal tax identification number (or Canadian business number
 where applicable) for each of the Debtors, are: Allied Systems Holdings, Inc. (XX-XXXXXXX); Allied Automotive
 Group, Inc. (XX-XXXXXXX); Allied Freight Broker LLC (XX-XXXXXXX); Allied Systems (Canada) Company (90-
 0169283); Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); Axis Areta, LLC (XX-XXXXXXX); Axis Canada Company
 (87568828); Axis Group, Inc. (XX-XXXXXXX); Commercial Carriers, Inc. (XX-XXXXXXX); CT Services, Inc. (38-
 2918187); Cordin Transport LLC (XX-XXXXXXX); F.J. Boutell Driveaway LLC (XX-XXXXXXX); GACS Incorporated
 (XX-XXXXXXX); Logistic Systems, LLC (XX-XXXXXXX); Logistic Technology, LLC (XX-XXXXXXX); QAT, Inc. (59-
 2876863); RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX); and Terminal Services LLC (91-
 0847582). The location of the Debtors’ corporate headquarters and the Debtors’ address for service of process is
 2302 Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345.
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     THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ AMENDED
             COMPLAINT FOR (I) EQUITABLE SUBORDINATION, (II)
      RECHARACTERIZATION, (III) BREACH OF CONTRACT, (IV) SPECIFIC
    PERFORMANCE, (V) BREACHES OF FIDUCIARY DUTIES, (VI) AIDING AND
                 ABETTING BREACHES OF FIDUCIARY DUTIES,
        (VII) AVOIDANCE AND RECOVERY OF AVOIDABLE TRANSFERS,
                AND (VIII) DISALLOWANCE OF CERTAIN CLAIMS

       The Official Committee of Unsecured Creditors (the “Committee” or the “Plaintiff”),

appointed in the above-captioned chapter 11 cases of Allied Systems Holdings, Inc. (“Allied”),

Allied Systems, Ltd. (L.P.) (“Systems”) and their U.S. and Canadian subsidiaries (collectively,

the “Debtors” or the “Company”), by and through its undersigned counsel, hereby files, on

behalf of the estates of the Debtors, this Amended Complaint for (I) Equitable Subordination, (II)

Recharacterization, (III) Breach of Contract, (IV) Specific Performance, (V) Breaches of

Fiduciary Duties, (VI) Aiding and Abetting Breaches of Fiduciary Duties, (VII) Avoidance and

Recovery of Avoidable Transfers, and (VIII) Disallowance of Certain Claims (the “Amended

Complaint”) against Yucaipa American Alliance Fund I, L.P., Yucaipa American Alliance

(Parallel) Fund I, L.P., Yucaipa American Alliance Fund II, L.P., Yucaipa American Alliance

(Parallel) Fund II, L.P. (collectively, “Yucaipa”), Mark J. Gendregske (“Gendregske”), Jos

Opdeweegh (“Opdeweegh”), James Frank (“Frank”), Derex Walker (“Walker”), Jeff Pelletier

(“Pelletier”), Ira Tochner (“Tochner”), and Joseph Tomczak (“Tomczak,” together with

Gendregske, Opdeweegh, Frank, Walker, Pelletier and Tochner, the “Allied Directors” and the

Allied Directors together with Yucaipa, the “Defendants”). The Committee expressly reserves

the right to amend or supplement the parties to, and claims for relief in, the Amended Complaint,

and to assert and file additional cross-claims and/or third-party complaints herein and in any

related adversary proceeding, including, without limitation, Allied Systems Holdings, Inc. v.

American Money Management Corp. et al., Adv. Pro. No. 12-50947 (CSS) (Bankr. D. Del.) (the



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“Delaware Action”), which cannot be articulated as a result of the fact that the Committee has

not yet been able to confirm or deny many of the allegations in the related adversary

proceedings, and/or due to the failure of the complainants to particularize their claims in the

related adversary proceedings, and/or due to the fact that the Committee does not have copies of

documents relating to certain of the allegations in the related adversary proceedings. In support

of the requested relief, the Committee alleges, upon information and belief, as follows:

                                    PRELIMINARY STATEMENT

        1.      This is a case about the efforts of the owner of the majority of equity in the

Debtors to take control over all facets of the Debtors’ capital structure in order to protect its

equity investment over the legitimate rights and expectations of the Debtors’ secured and

unsecured creditors. Through various methods, after taking control of the Debtors following

their first bankruptcy proceeding, Yucaipa attempted to strip away the protections afforded to all

creditors of Allied, all in an effort to protect its equity investment from the legitimate exercise by

actual creditors of their rights.

        2.      Following the first Allied bankruptcy, Yucaipa took control of approximately

67% of the outstanding equity of Allied and was given the ability to name outright three of the

five directors on Allied’s Board of Directors (the “Board”). What is more, Yucaipa effectively

had the power to name all five directors on Allied’s Board, as it was empowered, through its

express control of an outright majority of the Board, to select Allied’s Chief Executive Officer

and the fourth Board member, as well as the fifth Board member, who, despite being selected by

the creditors’ committee in the first Allied bankruptcy, had to be “reasonably acceptable” to

Yucaipa. Thus, given its controlling influence and express appointment and veto powers, even

the two nominal “independent” directors were under the control of Yucaipa as the appointment



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of both so-called “independent” directors was subject to Yucaipa’s veto and whim. Accordingly,

after Allied’s emergence from the first bankruptcy, Yucaipa effectively controlled not only a

super-majority of the outstanding equity, and expressly controlled a super-majority of the Board,

but it also effectively controlled 100% of the Board.

       3.      Not long after Allied emerged from its first bankruptcy in May 2007, its business

prospects began to falter. The global economic downturn began to come into view in late 2007

and early 2008, and was particularly felt in the automotive market, the primary market that

Allied serviced as a long-haul car carrier.

       4.      Accordingly, as early as 2008, Allied was nearing insolvency, if not already

insolvent. Indeed, at that time Allied was increasingly failing to meet various debt covenants

and failing to make required debt payments. What was needed to keep the business afloat and to

navigate the challenging economic times was an equity investment that could be used to service

the outstanding debt or a voluntary restructuring to keep Allied’s business running until the

challenging economic conditions improved. Indeed, Allied’s existing creditors pleaded with its

owner, Yucaipa, to provide such an infusion of equity for the benefit of all of its stakeholders,

including its creditors, its employees and its equity owners.

       5.      Yucaipa, however, refused to put equity into Allied, but instead crafted a scheme

whereby it would protect its existing equity investment, take control over the outstanding secured

debt of the Company and launch a plan to eliminate the existing debt in a manner that would

benefit Yucaipa and Yucaipa alone. Additionally, Yucaipa thwarted any possibility of the

Company entering into a voluntary restructuring or strategic combination that might have the

effect of diluting or eliminating Yucaipa’s existing equity. While Yucaipa may not have been

required to infuse the Company with additional cash for a new equity investment, what it could



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not do was to take steps to prevent the possibility of a voluntary restructuring or the exercise of

rights by creditors in order to protect Yucaipa’s existing equity investment. However, that is

exactly what Yucaipa did, as it utilized its control over Allied to elevate Yucaipa to a status

whereby it controlled not only the majority of the equity and effectively 100% of the Board, but

also the outstanding secured debt of the company.

       6.      First, Yucaipa began to push Allied’s creditors to lift the restrictions upon

Yucaipa’s ability to own outstanding debt (the “First Lien Debt”) under the Amended and

Restated First Lien Secured Super-Priority Debtor in Possession and Exit Credit and Guaranty

Agreement, as amended (the “First Lien Credit Agreement”). Initially, the lenders under the

First Lien Credit Agreement (collectively, any and all such lenders who at any time held First

Lien Debt are the “First Lien Lenders”) agreed to permit Yucaipa to take a position in the First

Lien Debt, but only if Yucaipa purchased that debt in a manner that prevented Yucaipa from

taking control over the exercise of remedies by creditors and only in a manner that required

Yucaipa to “put its money where its mouth is,” by contributing half of any purchase of First Lien

Debt as capital into the company. Yucaipa controlled this process from the outset. Indeed,

Yucaipa and its attorneys negotiated the terms of the Third Amendment to the First Lien Credit

Agreement (as defined below), while Allied sat idly by and let its controlling stockholder

negotiate the terms of its outstanding First Lien Debt.

       7.      Nevertheless, and notwithstanding its control over and input into the amendment

of the First Lien Credit Agreement, Yucaipa refused to purchase any First Lien Debt unless it

could have complete control over the credit facility, as it had already accomplished in the Second

Lien Facility (as defined below). Indeed, under the Third Amendment to the First Lien Credit

Agreement (the “Third Amendment”), Yucaipa could not protect its equity investment by



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purchasing First Lien Debt because any such debt would have been non-voting, and, even if such

debt was permitted to vote, the amendment ensured that Yucaipa could not acquire a sufficient

amount of First Lien Debt to enable it to block the exercise of remedies for defaults under the

First Lien Credit Agreement.

        8.      Accordingly, instead of proceeding under the Third Amendment that it negotiated,

Yucaipa began to affirmatively seek total control over Allied’s outstanding secured debt. Thus,

in the second step of its plan, Yucaipa launched a tender offer for the First Lien Debt in an effort

to acquire a majority of the First Lien Debt and control over Allied’s existing debt facilities.

During this effort, Yucaipa was warned that it was unlikely to obtain sufficient support for the

tender offer because the First Lien Lenders were understandably unwilling to cede control over

the debt facilities to Allied’s sponsor and the primary owner of its equity. Indeed, the existing

First Lien Lenders knew full well that permitting the majority equity owner to take control over

the outstanding secured debt could have disastrous consequences for the Company and its other

stakeholders, as it would permit the equity owner to control any bankruptcy of the Company, all

in violation of the spirit, if not the letter, of the absolute priority rule.

        9.      Not surprisingly, Yucaipa’s tender offer failed. However, Yucaipa was not

dissuaded by the reaction of the market and instead undertook a more surreptitious route to

attempt to reach its goal of total and complete control. In 2009, Yucaipa engaged in discussions

with the then existing Requisite Lender under the First Lien Credit Agreement, ComVest

Investment Partners III, L.P. (“ComVest”), whereby, if Yucaipa got its way, the parties would

agree to split the company between them, with ComVest nominally owning the debt but Yucaipa

controlling the debt. This arrangement violated not only the language of the First Lien Credit

Agreement, even as amended by the Third Amendment, but its entire intent. Indeed, Yucaipa



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eventually recognized that having ComVest serve as a “strawman” owner of the debt was

unlikely to pass any serious scrutiny.

       10.     Accordingly, as Yucaipa’s initial under the table deal with ComVest would likely

not fully protect its equity investment, Yucaipa reached another agreement with ComVest. This

time, Yucaipa eventually convinced ComVest to attempt to use its status as the Requisite Lender

to purport to amend the First Lien Credit Agreement through the purported Fourth Amendment

to the First Lien Credit Agreement (the “Fourth Amendment”) to enable Yucaipa to purchase a

majority of the First Lien Debt and ascend to the status of the Requisite Lender, a position

wherein Yucaipa could prevent the exercise of remedies against the Company.

       11.     Yucaipa was only able to pull off this scheme by promising ComVest something

that no legitimate or actual lender would do; upside in Yucaipa’s investment. Indeed, Yucaipa

treated its purchase of the ComVest debt like equity, providing ComVest with percentages from

any payments received by Yucaipa on its equity and purported “debt” investments. But this was

not all. Yucaipa also gave ComVest a right of first refusal on any future investments made by

Yucaipa in Allied, whether such investments were infusions of equity or nominally further debt

investments. Accordingly, under its deal with ComVest, Yucaipa essentially provided ComVest

with warrants into a reorganized Allied.

       12.     In the end, by purchasing ComVest’s outstanding debt at a steep discount,

Yucaipa was able to maneuver itself to the front of the line, protect its equity investment, and

essentially make an equity contribution to Allied without technically doing so. Through its

manipulative scheme, Yucaipa gave itself the ability to prevent creditors from exercising rights

against the Company that could have benefitted the Debtors and their creditors but would have

adversely affected Yucaipa’s equity interests.



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       13.     What is more, throughout this period, Yucaipa utilized Allied and its limited

funds to pay Yucaipa and Yucaipa’s advisors to engage in the transactions that comprised

Yucaipa’s scheme to protect Yucaipa’s equity investment. Allied was obligated to pay millions

of dollars to Yucaipa, under the guise of a consulting agreement, whereby Yucaipa purportedly

acted on behalf of Allied in negotiations with customers and employees of Allied. Additionally,

Yucaipa caused Allied to pay millions of dollars in legal and other fees to advisors of Yucaipa in

connection with the drafting of the various agreements at issue, as well as in connection with

litigation that arose out of Yucaipa’s scheme to eliminate any threat to its equity investment.

However, that is not all, as Yucaipa went so far as to cause Allied to pay millions of dollars on

behalf of ComVest – the entity with which Yucaipa conspired to take control of the First Lien

Debt – to ComVest’s attorneys and agents in connection with the disputed transactions. All told,

Yucaipa’s actions caused Allied to pay millions of dollars for services of agents and advisors

whose services solely benefitted Yucaipa. All of these funds would otherwise have been

available to Allied’s legitimate creditors.

       14.     Once it had claimed to have taken control of the First Lien Debt, Yucaipa

exercised its purported power as the Requisite Lender in ways that caused harm to all creditors of

the Debtors. For instance, when the agent for the First Lien Lenders objected to the Fourth

Amendment and Yucaipa’s acquisition of ComVest’s interests, Yucaipa caused Allied to bring

suit against the agent and to pay millions of dollars in legal fees on behalf of Yucaipa to

prosecute that suit. Additionally, although Allied had funds available to service its outstanding

secured debt, Yucaipa caused Allied to not make its payments on the debt, solely for the purpose

of assisting Yucaipa in its negotiations with ComVest.




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       15.     Yucaipa’s efforts were also aided and enabled by the members of Allied’s Board,

who failed to fulfill their fiduciary obligations to the stakeholders and creditors of Allied. The

Allied Directors were, or should have been, on notice of the possibility, if not certainty, that

Yucaipa’s interests, as Allied’s primary equity holder, could conflict with the interests of

Allied’s legitimate creditors. Indeed, even prior to Allied’s emergence from the first bankruptcy

the possibility that a conflict between the interests of Yucaipa and Allied was apparent, as many

of the prior board of directors noted that Yucaipa’s actions could be unlawful.

       16.     Allied’s Board, however, failed to take anything approaching reasonable steps to

avoid the obvious conflicts of interests that arose from Yucaipa’s control over the Debtors. For

instance, while Allied nominally established a “Special Committee” (the “Special Committee”)

of purportedly independent board members to evaluate transactions involving Yucaipa, even if

those board members could be deemed to be “independent,” the Special Committee process was

entirely flawed and deficient. Indeed, the Special Committee – which never retained any

independent counsel or advisors until long into these bankruptcy cases – approved most, if not

all, of the Yucaipa transactions, and did so without any independent evaluation. Instead, the

Special Committee approved most, if not all, of these transactions only after the full Board,

including the Yucaipa Board members, had already deliberated and received advice from the

same advisors who represented the entire Board and whose retention was subject to the whims of

Yucaipa and its Board members.

       17.     All told, Yucaipa’s actions have cost the Debtors’ estates and their stakeholders

tens, if not hundreds, of millions of dollars that would otherwise be available for distribution to

Allied’s legitimate and actual creditors. Moreover, in addition to the payment of millions of

dollars in benefits to Yucaipa, the Debtors and their creditors have been deprived of tens of



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millions of dollars in capital contributions that Yucaipa was required to have made as a result of

its acquisition of ComVest’s First Lien Debt, which Yucaipa instead has purported to have

transformed into First Lien Debt.

       18.     Accordingly, Plaintiff, derivatively on behalf of the Debtors’ estates, brings this

action for: (i) equitable subordination of Yucaipa’s purported debt holdings to all other claims

asserted against the Debtors pursuant to section 510(c) of the Bankruptcy Code; (ii)

recharacterization as equity of Yucaipa’s purported debt holdings pursuant to section 105(a) of

the Bankruptcy Code; (iii) breach of the Third Amendment by Yucaipa; (iv) specific

performance of the Third Amendment against Yucaipa; (v) breach of fiduciary duties against

Yucaipa; (vi) breach of fiduciary duties against the Allied Directors; (vii) aiding and abetting

breach of fiduciary duty against Yucaipa and the Allied Directors; (viii) the avoidance and

recovery of fraudulent transfers and obligations against Yucaipa pursuant to sections 548(a) and

550 of the Bankruptcy Code, (ix) the avoidance and recovery of fraudulent transfers,

conveyances and obligations against Yucaipa pursuant to sections 544(b) and 550 of the

Bankruptcy Code (x) the avoidance and recovery of preferential transfers against Yucaipa

pursuant to sections 547 and 550 of the Bankruptcy Code; and (xi) disallowance of certain

claims of Yucaipa pursuant to section 502(d) of the Bankruptcy Code.

       19.     BDCM Opportunity Fund II, LP, Black Diamond CLO 2005-1 Ltd., and

Spectrum Investment Partners, L.P. (“Intervenors”) intervened in this proceeding, on behalf of

themselves and not on behalf of the Debtors’ estates, pursuant to the directions given by the

Court at the February 27, 2013 hearing. Additionally, the Intervenors assert a claim for equitable

subordination of Yucaipa’s purported debt holdings to all other claims asserted against the




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Debtors arising under the First Lien Credit Agreement and Second Lien Credit Agreement

pursuant to section 510(c) of the Bankruptcy Code for harm caused to the holders of such claims.

                                   JURISDICTION AND VENUE

        20.     This is an adversary proceeding pursuant to Rule 7001 of the Federal Rules of

Bankruptcy Procedure.

        21.     This Court has original jurisdiction under 28 U.S.C. § 1334(b), in that this is a

civil proceeding relating to the underlying case arising under title 11 of the United States Code.

        22.     This adversary proceeding is a “core” proceeding pursuant to 28 U.S.C. § 157(b).

        23.     This Court has personal jurisdiction over Defendants pursuant to Rule 7004 of the

Federal Rules of Bankruptcy Procedure.

        24.     Venue of this adversary proceeding in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409(a).

                                               STANDING

        25.     The Committee has sought and received consent from the Debtors to have

standing to bring this action against the Defendants on behalf of the Debtors’ estates, [D.I. 907],

and were granted such standing by the Court at the February 27, 2013 hearing.

                                             THE PARTIES

        26.     The Committee, as Plaintiff in this adversary proceeding on behalf of the Debtors’

estates, was appointed on June 20, 2012, pursuant to Section 1102 of the Bankruptcy Code.2

Pursuant to Section 1103 of the Bankruptcy Code, the Committee has investigated and continues

to investigate the acts, conduct, assets, liabilities, and financial condition of the Debtors.



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 The Committee consists of Pension Benefit Guaranty Corporation; Central States, Southeast and Southwest
Pension Fund; Teamsters National Automobile Transporters Industry Negotiating Committee; and General Motors
LLC.

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       27.     Intervenor BDCM Opportunity Fund II, LP is a Delaware limited partnership,

with its principal place of business at One Sound Shore Drive, Suite 200, Greenwich, CT 06830.

       28.     Intervenor Black Diamond CLO 2005-1 Ltd. is a Cayman Islands limited liability

company, with its principal place of business at One Sound Shore Drive, Suite 200, Greenwich

CT 06830.

       29.     Intervenor Spectrum Investment Partners, L.P. is a Delaware limited partnership,

with its principal place of business at 1250 Broadway, New York, NY 10001.

       30.     Upon information and belief, Yucaipa American Alliance Fund I, L.P. and

Yucaipa American Alliance (Parallel) Fund I, L.P., Yucaipa American Alliance Fund II, L.P. and

Yucaipa American Alliance (Parallel) Fund II, L.P. are Delaware limited partnerships

headquartered at 9130 West Sunset Boulevard, Los Angeles, California 90069.

       31.     Upon information and belief, Mark J. Gendregske is a citizen of the state of

Georgia and the chief executive officer and a director of Allied.

       32.     Upon information and belief, Jos Opdeweegh is a citizen of the state of Illinois,

had previously served as an operating partner and advisor at The Yucaipa Companies, LLC, an

affiliate of Yucaipa, and was a director of Allied.

       33.     Upon information and belief, James Frank is a citizen of the state of New York, is

employed by The Yucaipa Companies, LLC, an affiliate of Yucaipa, and a director of Allied.

       34.     Upon information and belief, Derex Walker is a citizen of the state of California,

a partner at The Yucaipa Companies, LLC, an affiliate of Yucaipa, and a director of Allied.

       35.     Upon information and belief, Jeff Pelletier is a citizen of the state of California, is

an operating partner at The Yucaipa Companies, LLC, an affiliate of Yucaipa, and is a director

of Allied.



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       36.     Upon information and belief, Ira Tochner is a citizen of the state of California, is

a partner at The Yucaipa Companies, LLC, an affiliate of Yucaipa, and is a director of Allied.

       37.     Upon information and belief, Joseph Tomczak is a citizen of the state of Illinois

and was an operating partner at The Yucaipa Companies, LLC, an affiliate of Yucaipa, and was a

director of Allied.

                                  FACTUAL ALLEGATIONS

       38.     Allied is a leading provider of distribution and transportation services to the

automotive industry in North America, primarily focused on the delivery of new automobiles

from manufacturing facilities to dealerships.

       (a)     Allied’s 2007 Bankruptcy, Yucaipa’s Acquisition of the Majority of the
               Equity in Allied, and Board Members’ Early Concerns About Yucaipa

       39.     Unfortunately, it is now clear that at least some of the seeds for the Debtors’

current financial difficulties were sewn at the time of its last exit from bankruptcy in May 2007,

which saw Yucaipa ascend to the role of Allied’s majority and controlling shareholder with the

power to appoint three of its five directors and the ability to control Allied’s senior management.

       40.     Allied filed its first petition for relief under the Bankruptcy Code on July 31, 2005

in the United States Bankruptcy Court for the Northern District of Georgia (the “2005

Bankruptcy”). In or about May 2006, Yucaipa purchased a majority stake of the then existing

Senior Unsecured Notes of Allied at a substantial discount to their par value.

       41.     After Yucaipa’s acquisition of its interests in Allied, and during the 2005

Bankruptcy process, members of Allied’s then board of directors were already focused on

Yucaipa’s tactics and voiced concerns about Yucaipa damaging Allied and its prospects. Among

other things, members of the board raised significant concerns about the propriety of Yucaipa’s

actions taken purportedly on behalf of Allied and concerns about the amount of control that


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Yucaipa was exerting over Allied’s business. For instance, at a February 9, 2007 special meeting

of the board, a board member raised his concern that there was “tort[i]ous interference” with the

Company’s business or contracts by Yucaipa.

       42.     During a February 20, 2007 special board meeting, another board member

“indicated that he believed that Yucaipa is in the driver’s seat and he and [another board

member] agreed that once the Company[] signs the addendum, we would not be able to oppose

what Yucaipa says or wants to do.” At that time, the board discussed creating “value” for

“everyone, not just Yucaipa, even in the circumstance if equity is out of the money” and the

desire that the “process . . . allow the Company some control over this issue.”

       43.     Additionally, as early as February 12, 2007, the board discussed whether Yucaipa

had breached a confidentiality agreement that it had with Allied. The board even discussed

whether Allied should bring a tortious interference claim against Yucaipa—so serious were these

concerns, the board asked Allied’s regular outside counsel to explore potential claims against

Yucaipa.

       44.     By mid-March 2007, it was apparent to the board that, “in practical terms,

Yucaipa may really be running and controlling the process.”

       45.     Indeed, one member of the board described the situation in stark terms at a March

16, 2007 special board meeting, stating, “he believes that the Board has failed in its efforts in

regard to the involvement of Yucaipa in the process.” He was concerned “that the Board has

exposure because the Company let Yucaipa do this to the Company,” when it “should have

required Yucaipa to sign some sort of agreement precluding it from” doing so, but “the Company

never did” require such an agreement.




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       46.     When Allied emerged from bankruptcy in May 2007, Yucaipa was in total control

of Allied. As part of the exit plan, Yucaipa was permitted to name three of the five members of

the Board, giving it a permanent majority and complete control of the board of directors. Not

surprisingly, none of the prior directors who had voiced concerns about Yucaipa’s actions were

retained as members of the Board of the reorganized Allied.

       47.     Moreover, the Second Amended Joint Plan of Reorganization of Allied Holdings,

Inc. And Affiliated Debtors Proposed By The Debtors, Yucaipa, And The Teamsters National

Automobile Transportation Industry Negotiating Committee (the “2007 Reorganization Plan”),

approved by the United States Bankruptcy Court for the Northern District of Georgia on May 18,

2007 and effective as of May 29, 2007, demonstrates that the “independent” directors were

hardly independent at all. Indeed, one of the two so-called “independent” directors was the

Chief Executive Officer of the Company, “who shall be selected by Yucaipa and shall be

reasonably acceptable to TNATINC [i.e., the Teamsters] and the Creditors’ Committee,” in

addition to the “three other members selected by Yucaipa.” (Allied Form 8-K, dated May 24,

2007, at Ex. 2.1 § 7.2.)

       48.     The other “independent” director had served as the financial advisor to the

creditors’ committee in the 2005 Allied Bankruptcy. While this member was not employed by

Yucaipa or Allied, the 2007 Reorganization Plan makes clear that even though this individual

was to be “chosen by the Creditors’ Committee,” he or she “shall be reasonably acceptable to

Yucaipa.” (Id.) Thus, following Allied’s emergence from bankruptcy in May 2007, Yucaipa

effectively controlled all five Board members: it directly appointed 3 directors, its selection of

the CEO and fourth Board member was subject only to being “reasonably acceptable” to certain




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other creditors, and the fifth Board member, while chosen by the creditors’ committee, was to be

“reasonably acceptable to Yucaipa.”

         49.    In addition to its ability to control Allied’s Board, through the 2007

Reorganization Plan, Yucaipa held 67% of the equity of Allied, which has increased to an

approximate 70% equity stake.

         50.    Through the 2005 Bankruptcy, Yucaipa acquired approximately two-thirds of a

series of unsecured notes that Allied had issued in the principal amount of $150 million; it

facilitated the $15.1 million financing of certain rigs represented by certain notes that were

converted to equity; it supported the conversion of general unsecured debt into equity under the

2007 Reorganization Plan, of which Yucaipa held 67%; and it aided Allied in securing exit

financing. Accordingly, through its below-par purchase of Allied’s then existing Unsecured

Notes, Yucaipa was able to cancel the existing equity and take complete control over Allied

thereafter. Not only did Yucaipa own the majority of the newly issued equity in Allied, but it

controlled at least two-thirds of the Board and, in reality, controlled one hundred percent of the

Board.

         (b)    The Secured Debt Structure After Allied’s Exit from its First Bankruptcy

         51.    Allied exited bankruptcy with $315 million of exit financing comprised of a $265

million senior secured first priority credit facility (the “First Lien Facility”), and a $50 million

second lien facility (the “Second Lien Facility”).

         52.    The First Lien Facility was comprised of $180 million of term loans; a $35

million revolving credit facility from The CIT Group/Business Credit, Inc. (“CIT”); and a $50

million letter of credit facility.

         53.    The First Lien Facility is governed by the First Lien Credit Agreement, entered

into by and among Allied Holdings, Inc. ("Holdings") and Allied Systems Ltd (LP) ("Systems"),
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 as Borrowers, and certain subsidiaries of Holdings, as Guarantors, various lenders, Goldman

 Sachs Credit Partners L.P. (“Goldman Sachs”), as Lead Arranger and Syndication Agent, and

 CIT, as Administrative Agent and Collateral Agent.

        54.     The Second Lien Facility was comprised of $50 million of loans.

        55.     The Second Lien Facility is governed by that certain Second Lien Secured Super-

 Priority Debtor in Possession and Exit Credit and Guaranty Agreement, dated May 15, 2007 (the

 “Second Lien Credit Agreement”), entered into by and among Holdings and Systems as

 Borrowers and certain subsidiaries of Holdings as Guarantors, various lenders, and Goldman

 Sachs, as Lead Arranger, Syndication Agent, Administrative Agent and Collateral Agent.

        56.     Allied has been in default under both the First Lien Credit Agreement and Second

 Lien Credit Agreement since August 2008. Specifically, and only by way of example among

 many other Events of Default, Allied has failed to pay required principal and interest

 payments—at times at Yucaipa’s express insistence—even when Allied had the cash on hand to

 make the payments.

        C.      The First Lien Credit Agreement and Second Lien Credit Agreement Were
                Expressly Drafted and Always Intended to Prevent Yucaipa, as the Majority
                Equity Holder, from Gaining Control Over the Outstanding Debt

        57.     Given the size of Yucaipa’s equity holdings, its control of Allied’s Board and,

 indeed, its control over all of Allied, it was always intended that Yucaipa would be precluded

 from taking control over the First Lien Debt and the outstanding debt under Second Lien Facility

 (the “Second Lien Debt”). This intention was hardly surprising and, indeed, standard in such

 secured debt offerings. Secured creditors had the right to know that the majority equity holder

 would not attempt to prevent creditors from enforcing rights that could harm the interests of

 secured creditors. Similarly, unsecured creditors and other stakeholders wanted to ensure that



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 Yucaipa, as the majority equity holder, would not be able to control the outstanding secured debt

 of the company in a manner that would favor equity holdings over legitimate debt holders.

         58.      The First Lien Credit Agreement set forth a mechanism designed to ensure that a

 majority of the holders of the First Lien Debt would be able to control most of the actions taken

 by the lending group. In particular, the First Lien Credit Agreement provides that “Requisite

 Lenders”—defined as holders of debt under the First Lien Facility representing more than 50%

 of the sum of the aggregate “Term Loan Exposure” of all lenders, the aggregate letter of credit

 exposure, and the aggregate revolving credit exposure (First Lien Credit Agreement § 1.1)—

 have the power to make certain key decisions affecting all First Lien Lenders.

         59.      Among other things, the Requisite Lenders under the First Lien Facility have the

 authority to declare or not declare “Events of Default” under the First Lien Credit Agreement.

 (Id. §§ 8.1, 9.8.)

         60.      The First Lien Credit Agreement expressly prevented Yucaipa from becoming

 eligible to become a Requisite Lender under the First Lien Credit Agreement because, as

 Allied’s majority shareholder and “Sponsor,” it was not a lender under the First Lien Facility and

 could not become such a lender. (Id. §§ 1.1, 10.6.)

         61.      The First Lien Credit Agreement was amended or, in the case of the “Fourth

 Amendment,” purportedly amended, on four occasions. The Third Amendment3 and purported

 Fourth Amendment,4 are relevant to this proceeding.




 3
  The Third Amendment refers to that certain Amendment No. 3 To Credit Agreement and Consent, dated as of
 April 17, 2008, to the Amended and Restated First Lien Secured Super-Priority Debtor In Possession and Exit Credit
 and Guaranty Agreement, dated as of May 15, 2007.
 4
  The Fourth Amendment refers to that certain Amendment No. 4 To Credit Agreement, dated as of August 21,
 2009, to the Amended and Restated First Lien Secured Super-Priority Debtor In Possession and Exit Credit and
 Guaranty Agreement, dates as of May 15, 2007.

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         62.     The Second Lien Credit Agreement was amended on three occasions. The

 “Second Lien Third Amendment” is relevant to this proceeding.

         63.     Notwithstanding the clear prohibition in the respective First Lien Credit

 Agreement and Second Lien Credit Agreement that prohibited Yucaipa from acquiring the

 secured debt of Allied, Yucaipa refused to acknowledge or abide by those terms. In particular,

 Yucaipa believed that because it was not a direct signatory to either credit agreement that it was

 free to purchase or acquire as much secured debt of Allied as it pleased. Yucaipa would

 subsequently evidence its intent and belief that it could take control over the secured debt

 facilities of Allied.

         (d)     Yucaipa Causes the Second Lien Credit Agreement to be Amended and
                 Acquires the Outstanding Second Lien Facility

         64.     On May 6, 2008, as part of Yucaipa's scheme to take control over the entirety of

 Allied’s financial structure, Yucaipa, acquired the face amount of $40 million in term loans

 under the Second Lien Facility and exchanged $20 million of it for 21,396 shares of preferred

 stock that is convertible into common stock. The $40 million face value acquired by Yucaipa

 represented approximately 80% of the outstanding amount of the term loans under the Second

 Lien Facility. Yucaipa acquired its holdings of the Second Lien Facility at a substantial discount

 to its par value.

         65.     In connection with Yucaipa’s acquisition of the Second Lien Debt, the Second

 Lien Credit Agreement was amended to allow Yucaipa to become an Eligible Assignee with no

 restrictions on its right to vote or control the Second Lien Facility. Accordingly, Yucaipa

 became the Requisite Lender under the Second Lien Facility. Yucaipa, not Allied, controlled the

 negotiation of the amendment to the Second Lien Facility that enabled Yucaipa to take control

 over the Second Lien Facility.


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        (e)     Yucaipa Causes the Third Amendment to the First Lien Facility to be
                Executed by Allied to Permit Yucaipa to Purchase a Limited Amount of First
                Lien Debt

        66.     Not long after Allied emerged from the first bankruptcy, notwithstanding the

 terms of the First Lien Credit Agreement but consistent with Yucaipa’s belief that it was not

 subject to any restrictions, Yucaipa began to push to acquire First Lien Debt. In particular,

 during the first quarter of 2008, Yucaipa engaged in discussions with the then majority holder of

 First Lien Debt concerning amending the First Lien Facility to permit Yucaipa to acquire First

 Lien Debt.

        67.     Accordingly, Yucaipa engaged in negotiations with the then primary holder of

 First Lien Debt, CIT, concerning what would become the Third Amendment to the First Lien

 Credit Agreement. Although Yucaipa was not and would not be a party to the Third Amendment

 to the First Lien Credit Agreement, it and its attorneys took the lead in negotiating the terms of

 the Third Amendment. By contrast, Allied took a back seat and went along for the ride while

 Yucaipa negotiated the amended terms of Allied’s First Lien Facility.

        68.     By April 2008, Yucaipa and CIT reached agreement upon the terms of the Third

 Amendment, which amended the First Lien Credit Agreement such that Yucaipa could acquire

 debt under the First Lien Facility, but only under tight restrictions and subject to substantial

 financial penalties for the acquisition of any First Lien Debt.

        69.     Under the Third Amendment, a “Restricted Sponsor Affiliate” was defined as the

 “Sponsor and its Affiliates,” and, under the First Lien Credit Agreement, the Sponsor is Yucaipa.

 (First Lien Credit Agreement § 1.1.) Accordingly, in light of the Restricted Sponsor Affiliate

 definition and under the terms of the Third Amendment, Yucaipa could acquire certain First Lien

 Debt. However, Yucaipa was precluded from becoming a Requisite Lender under the Third



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 Amendment, and, to the extent Yucaipa decided to acquire any First Lien Debt, it would be

 subject to the following restrictions, among others:

                        Yucaipa could not acquire more than 25% of the aggregate principal
                        amount of the Term Loan Exposure held by all Lenders (Third
                        Amendment § 2.7(c));

                        Yucaipa could not acquire more than $50 million of the principal amount
                        of Term Loans (id. § 2.7(c));

                        Yucaipa could not exercise any voting rights that it would otherwise have
                        as a Lender, including the right to consent to any amendment to the Credit
                        Agreement or the right to vote its debt in any Allied bankruptcy (id. §§
                        2.1(e), 2.7(a), 2.7(b), 2.7(e)); and

                        Within ten days of its acquisition of any Term Loans, Yucaipa was
                        required to make a capital contribution to Allied of at least 50% of the
                        aggregate principal amount of those Term Loans (id. § 2.7(e)).

        70.     Notwithstanding its restrictions, the fact that the Third Amendment permitted

 Yucaipa, as a Sponsor, to acquire any of Allied’s First Lien Debt was a unique achievement for

 Yucaipa. Indeed, after the Third Amendment was agreed upon, Goldman Sachs emailed Derex

 Walker, the “transaction partner” from Yucaipa in charge of Yucaipa’s investment in Allied and

 a member of Allied’s board of directors, saying “Derex, Congrats on the amendment! Definitely

 precedent-setting, as it is the first of its kind, despite much talk by other sponsors. Great

 outcome for you and the company.”

        71.     However, notwithstanding the “precedent-setting” and “first of its kind” nature of

 the Third Amendment, Yucaipa was not interested in acquiring any debt subject to the

 restrictions that it negotiated in the Third Amendment. Indeed, in these bankruptcy proceedings,

 Yucaipa has averred that it “never intended to purchase any debt claims that would make it

 bound by the Third Amendment’s provisions.” (Adv. Pro. No. 12-50947 (Bankr. D. Del.), D.I.

 65 at ¶25(a).) Yucaipa has made plain to this Court that it “never would have acquired any first

 lien debt while the Third Amendment’s restrictions and conditions limiting Yucaipa’s potential

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 ownership rights existed.” (Id. at ¶ 50.) Accordingly, unsatisfied by the terms of the Third

 Amendment that it solicited and negotiated, Yucaipa continued with its scheme to take total

 control over the financial structure of Allied in order to protect its equity investment, to the

 detriment of all of Allied’s other creditors.

        (f)     Yucaipa’s Control Over Allied’s Purported Special Committee’s Review of
                Potential Yucaipa Transactions

        72.     During the spring of 2008, in connection with the Third Amendment that Yucaipa

 apparently never actually wanted, Yucaipa continued to pursue ways to take total control over

 the financial affairs of Allied. Throughout this period, the Allied Board simply went along for

 the ride. Indeed, notwithstanding the appointment of a so-called “Special Committee” of

 allegedly independent directors, who were supposed to evaluate any transaction involving

 Yucaipa, including the Third Amendment, to ensure that it was beneficial to Allied and its

 stakeholders, the Board, and ultimately the Special Committee, largely sat idly by as Yucaipa

 negotiated the terms of the Third Amendment and continued with the scheme to take total

 control over Allied’s financial structure.

        73.     On March 31, 2008 the Special Committee was formed. The Committee

 consisted of the two purportedly “independent” directors not formally appointed by Yucaipa,

 Brian Cullen (“Cullen”) and Defendant Gendregske, with Cullen appointed as its Chairman.

 Other individuals, including Allied’s in-house and outside counsel, regularly attended Special

 Committee meetings.

        74.     The purpose of the Special Committee was purportedly to negotiate on behalf of

 Allied in connection with any transaction in which Yucaipa would be involved. This necessarily

 would have included the Third Amendment, which for the first time permitted Yucaipa to

 acquire First Lien Debt. However, neither Allied nor its Special Committee took any control


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 over the negotiations of the Third Amendment, instead leaving the negotiations almost, if not

 entirely, exclusively to Yucaipa.

           75.    In addition, the Special Committee never took any steps to ensure that it was

 represented by or advised by independent professionals who could have taken steps to ensure

 that the interests of Allied, as opposed to those of Yucaipa, were being represented at the

 bargaining table over the Third Amendment or any subsequent transaction involving Yucaipa.

 At no time did the Special Committee retain independent counsel or independent financial

 advisors to assist its considerations of proposed transactions and whether to make certain

 recommendations to the Board.5 Indeed, throughout its entire existence until well into these

 chapter 11 cases, the Special Committee has relied solely on the legal and other advisors for the

 Debtors.

           76.    At an April 1, 2008 Special Committee meeting, a transaction was discussed

 whereby Yucaipa would purchase Allied’s Second Lien Debt, potentially at a discount, and then

 would turn around and forgive that debt as a contribution to Allied in exchange for equity. Two

 weeks later, the Special Committee discussed Yucaipa’s willingness to acquire and then to

 convert up to $25 million of Second Lien Debt into equity, subject to a material adverse change

 clause.

           77.    Three days later, on April 17, 2008, the Special Committee was advised that

 Defendant Walker, on behalf of Yucaipa, had stated that Yucaipa was only willing to convert

 $20 million of Second Lien Debt into equity, despite the fact that Allied’s negotiators had

 advised that they would be more comfortable at the previously discussed $25 million conversion

 amount. Nevertheless, at the conclusion of the Special Committee’s April 17, 2008 meeting, the

 5
  Only after months had passed in these current bankruptcy cases did the Special Committee ever retain independent
 counsel.

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 Special Committee unanimously agreed to return a term sheet to Yucaipa containing the $20

 million commitment that Yucaipa preferred.

        78.     Yucaipa would ultimately be unwilling, however, to be obligated to purchase any

 debt unless it was given the ability to control the entire debt structure of Allied. Notwithstanding

 the enactment of the Third Amendment that was negotiated by and for Yucaipa, Yucaipa

 ultimately refused to purchase any debt if it would be required to convert any debt it purchased

 into equity.

        (g)     Yucaipa Continues to Seek Approval to Acquire a Majority of the First Lien
                Debt to Protect its Equity Investment

        79.     Throughout 2008, Yucaipa was in continuous talks with CIT, as the Agent for the

 First Lien Lenders, as well as with respective holders of the First Lien Debt, to allow Yucaipa to

 obtain control over the First Lien Facility.

        80.     Yucaipa, as well as members of Allied’s Board, were informed of the request by

 the existing lenders under the First Lien Facility that Yucaipa support Allied through the infusion

 of equity investments. For instance, on October 9, 2008, Defendant Tomczak of Yucaipa

 informed Defendants Walker and Gendregske concerning his conversations with representatives

 of CIT, in which it was conveyed that “the lenders’ desire for a.capital [sic] nfusion [sic] by

 Yucaipa.” Defendant Tomczak further warned that the lenders “would not be adverse to owning

 the Company. So, I am reading this as meaning a game of chicken would be ill-advised and

 would result in a loss of control of Allied by Yucaipa.”

        81.     Faced with the possibility of playing “chicken” with the existing lenders and the

 resulting possibility of “a loss of control of Allied,” Yucaipa upped its efforts to keep, and

 ultimately solidify, Yucaipa’s total control over the Company.




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        82.      During the same time that Yucaipa was cementing its control, Allied was

 suffering financially and was informed of the heightened duties that it owed to its creditors as a

 result. On December 10, 2008, Cullen advised the Board that it should “consider the possibility

 that the Company was in the zone of insolvency and may have altered responsibilities as a

 consequence.”

        83.      Nevertheless, while discussions concerning Yucaipa’s potential acquisition of

 First Lien Debt continued, the Board and the Special Committee failed to take even rudimentary

 steps to ensure that any transaction would be fair to Allied and its stakeholders. For instance, on

 January 24, 2009, the Special Committee determined that it would not seek a fairness opinion

 concerning a contemplated transaction where Yucaipa would only acquire a minority amount of

 the First Lien Debt. Ultimately, Allied failed to ever obtain a fairness opinion concerning any

 acquisition of First Lien Debt by Yucaipa, including when Yucaipa ultimately purported to

 acquire the majority of outstanding First Lien Debt.

        84.      Notably, while the Special Committee and the Board failed to take steps to protect

 the interests of Allied and its stakeholders, the true motives of Yucaipa were obvious to, and

 known by, Allied’s directors. For instance at a February 3, 2009 Special Committee meeting,

 Cullen stated in no uncertain terms that “he believed that Yucaipa was putting more money into

 the Company in an effort to retain and protect its ownership position.” The Special Committee

 shared Cullen’s views, as the minutes from that same meeting reflect that the “Special

 Committee noted that Yucaipa’s additional infusion of cash in the Company suggested that it

 would remain willing to augment the Company’s cash position to protect its investment.” Still,

 the Allied Directors failed to take appropriate steps to ensure that the interests of the Company

 and its creditors, as opposed to the interests of Yucaipa, were protected.



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        85.     Throughout this time, Yucaipa continued to attempt to negotiate with the existing

 First Lien lenders to take total control over Allied’s secured debt structure, and using Allied’s

 own advisors to do so. For instance, in early January 2009, Yucaipa attempted to utilize

 Goldman Sachs, which served as the lead arranger and syndication agent under the First Lien

 Facility, to solicit First Lien Lenders to agree to permit Yucaipa to purchase a majority of the

 First Lien Facility and become the Requisite Lender. To that end, an investment banker from

 Goldman Sachs reported to Yucaipa that he was “working internally. There is a lot of pushback

 based on the precedent it would set.”

        86.     Subsequently, on February 2, 2009, the Goldman Sachs investment banker,

 responded to a request for an update from Defendant Walker that he was “[s]till working. I’m

 dropping my chance of success to 25% though. Just not getting people comfortable with the

 concept of a sponsor being able to control a class where lenders don’t otherwise tender. Hate to

 say it, but I think you should be evaluating your backup option. Am going to talk more tonight

 and get a final decision tomorrow.”

        87.     The following day, as promised, the investment banker wrote to Defendant

 Walker, reporting, “I couldn’t get people over the hump . . . Apologize for the outcome – not the

 way I wanted it to go – but there were real sensitivities internally given the precedent it would

 set. If you would like to talk strategy, and work through a way to do this without us (or using

 your backup solution), please let me know. I’m still here for you and Allied, and happy to

 discuss thoughts, strategy, process, etc. to still make this successful for you.”

        88.     Nevertheless, apparently undeterred by the extraordinary nature of its request, on

 February 4, 2009, Yucaipa launched a tender offer to the existing holders of the First Lien Debt

 that, if successful, would have permitted Yucaipa “to be Lenders under [First Lien] Credit



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 Agreement without any capital contributions to [Allied] and without any limit on the amount of

 Loans and LC Deposits that can be purchased.” As part of the tender offer, Yucaipa offered to

 purchase the outstanding debt at substantial discounts to par, namely term loans and letter of

 credit deposits for approximately 15 cents on the dollar and revolving credit commitments for

 approximately 13 cents on the dollar. Simultaneously, Yucaipa caused Allied to seek to secure

 lender consent to an amendment to the First Lien Credit Agreement that, if successful, would

 have permitted Yucaipa to become the Requisite Lender under the First Lien Facility.

        89.     However, the existing lenders to the First Lien Facility would not tender or

 consent to Yucaipa’s desire to take control over the First Lien Facility. Accordingly, the

 proposed tender offer and amendment strategy failed.

        (h)     Yucaipa Initiates Its Backup Plan to Take Total Control Over Allied
                Utilizing ComVest to Enable Yucaipa to Become the Requisite Lender Over
                the First Lien Facility

        90.     Having failed in its efforts to convince the First Lien Facility lenders to permit

 Yucaipa to take total control over the First Lien Facility, Yucaipa initiated its backup plan to take

 complete control over Allied. Accordingly, Yucaipa turned its sights on another entity,

 ComVest, to give Yucaipa the total control it so desired.

        91.     At a March 6, 2009 Allied Board meeting, Defendant Walker informed the Board

 about a contemplated transaction between Yucaipa and ComVest to acquire ComVest’s Allied

 debt holdings. At that meeting, Defendant Walker advised the Board that

                Yucaipa and Com-Vest reached an agreement under which Com-
                Vest would retain its debt holdings, but would allow Yucaipa full
                voting control over those holdings, as well as any future Allied
                debt acquired by Com-Vest. Com-Vest further agreed not to
                undertake any other activities in the carhaul sector. Com-Vest and
                Yucaipa reached an agreement as to how the two companies would
                share any recovery in the event of a liquidation by Allied. Under
                that agreement, any payments to Com-Vest/Yucaipa would be
                provided first to Com-Vest for the first $70 million, then to
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                Yucaipa up to an amount equal to the amount invested by Yucaipa
                in purchasing first lien debt, with any remaining funds shared
                between the companies pro-rata. Yucaipa planned to launch a
                tender offer for remaining first lien debt at twenty-three cents on
                the dollar. Finally, under the agreement, Allied was to provide
                Com-Vest a warrant for 25% of the outstanding shares in Allied. . .
                . Mr. Walker pointed out that in exchange for the 25% of the
                Company’s equity, the Company would receive an amendment that
                would cure all defaults and set covenants at a level selected by the
                Company as achievable. It would also put requisite lender
                approval in the hands of Yucaipa, more closely aligning the
                interests of the Company and those of the requisite lenders.

        92.     After Defendant Walker’s presentation, the Board “went on to discuss the

 ramifications of the proposed transaction, including the impact of the proposed transaction on

 minority shareholders, and other lenders.” As part of that discussion, Defendant Walker stated

 that ComVest’s intention, absent an agreement on the proposed transaction, would be to “push

 the Company into bankruptcy and force a 363 sale in which it would likely credit bid its loans in

 order to obtain an order to purchase the Company.”

        93.     At this Board meeting, Cullen inquired as to whether a Special Committee

 meeting was needed and whether the Board should obtain a fairness opinion. The Board

 “directed the Special Committee to meet and return to the full Board with a recommendation on

 whether to authorize the Company to enter into the proposed transaction.” The Board meeting

 was simply suspended momentarily to permit the Special Committee to meet. As usual, the

 Special Committee received no independent advice regarding the proposed transaction. Shortly

 thereafter the Board reconvened, and the Special Committee advised that it had unanimously

 decided to recommend that the Board approve of the proposed transaction and what would

 ultimately lead to the Fourth Amendment.

        94.     Yucaipa’s intent throughout this period was clear. Having failed in earlier

 attempts to convince the holders of the First Lien Debt to voluntarily consent to permit Yucaipa


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 to become the Requisite Lender, Yucaipa would utilize Allied in whatever fashion it desired in

 order to effectuate Yucaipa’s efforts to protect its equity investment.

         95.     Yucaipa’s intentions throughout this period were known to the Allied Directors.

 All involved understood that Yucaipa, having already succeeded in its efforts to take control over

 the Second Lien Facility, was seeking approval to obtain First Lien Debt in an effort to support

 its equity investment in Allied. Nevertheless, the Allied Directors took no measures to stop

 Yucaipa, or even to ensure that any takeover by Yucaipa of the First Lien Facility would not be

 inimical to the interests of Allied or its creditors.

         (i)     Yucaipa Causes Allied and the Allied Directors to Fail to Negotiate with the
                 First Lien Lenders Concerning a Consensual Restructuring of the First Lien
                 Facility

         96.     Notwithstanding Defendant Walker’s representation to the Allied Board in March

 2009, Yucaipa and ComVest did not have any agreement at that time. To the contrary, ComVest

 was interested in pursuing a restructuring of the outstanding debt of Allied in a manner that

 would have involved a potential consensual reorganization of Allied’s debt structure.

         97.     In the spring and summer of 2009, ComVest repeatedly approached Allied in an

 effort to engage in discussions concerning a potential conversion of the outstanding First Lien

 Debt into equity of a reorganized Allied. The precise parameters of this potential consensual

 restructuring were not set in stone, but could have taken a number of different forms, including

 potentially a strategic combination with other parties in the long-haul auto industry or other

 potential structures.

         98.     The benefits of a potential voluntary restructuring of the outstanding debt of the

 Company should have been clear to the Allied Directors at the time. Indeed, by the spring of

 2009, Allied had been in continuous default of its obligations under the First Lien Facility for

 almost a year. A voluntary restructuring of the First Lien Debt in a manner that involved the
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 conversion of the outstanding debt into equity of a reorganized Allied would have significantly

 benefitted Allied and its creditors, as it could have potentially de-levered Allied’s balance sheet.

 Accordingly, given the obvious benefits to the Company and its stakeholders, it was incumbent

 upon the Allied Directors to at least pursue discussions with ComVest, as the Requisite Lender,

 concerning a potential voluntary restructuring.

         99.    The one party that would not have benefitted, however, from such a voluntary

 restructuring or strategic combination would have been Yucaipa, as the controlling existing

 equity holder of Allied. In particular, to the extent that the Company entered into such a

 restructuring or combination, it is likely, if not certain, that Yucaipa would have seen the value

 of its existing equity holdings eliminated or, at a minimum, substantially diminished and would

 potentially see its super-majority control over Allied be eliminated or at least reduced.

         100.   Unfortunately, the Allied Directors failed to even attempt to engage or direct the

 officers of Allied to engage in discussions or negotiations with ComVest concerning a potential

 voluntary restructuring of Allied’s outstanding First Lien Debt. Although the precise reasons for

 the failure of the Allied Board to fulfill its fiduciary obligations is not known to date, given

 Yucaipa’s control over the Board and its decision making, it is hardly surprising that Allied

 failed to even attempt to engage in discussions concerning a potential transaction that could have

 greatly enhanced the value of the Company where it would not advance Yucaipa’s self-serving

 interests.

         101.   Accordingly, ComVest, having been rebuffed in its efforts to effectuate a

 voluntary out-of-court restructuring of Allied’s debt structure, went back to the drawing board

 and began serious negotiations with Yucaipa.




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        (j)     Yucaipa Causes Allied to Fail to Pay Under the First Lien Facility In Order
                to Benefit Yucaipa in its Negotiations with ComVest

        102.    Not content to simply pursue its backup plan to take control over Allied’s entire

 financial structure, Yucaipa also took measures to put pressure on the existing First Lien Lenders

 through its control over Allied’s equity and its Board. What is more, Yucaipa utilized Allied’s

 existing funds as a cudgel to assist Yucaipa in connection with negotiations with ComVest, all to

 the detriment of the existing creditors of Allied.

        103.    For example, at an August 3, 2009 Board meeting called for the purpose of

 discussing Allied’s “liquidity, especially with respect to the approximately $4.8 million interest

 payment due to the first lien lenders the next day,” the Board was advised that Defendant Walker

 “had suggested that the Company might be well-advised not to make the payment.”

        104.    At that meeting, Defendant Walker “updated the Board on the status of

 negotiations with ComVest, stating that ComVest and Yucaipa were back in discussions,” that

 Yucaipa believed a deal could be reached, but “warned, however, that it was critical that the

 Company have adequate liquidity to provide a sufficient runway for negotiations, and that a free

 fall into bankruptcy could be highly disruptive to the Company and to the ongoing negotiations.”

 Defendant Walker further “advised that based upon his conversations with ComVest, he did not

 believe that failure to make the payment would lead to precipitous action by the lenders or

 anyone else”, because, according to Defendant Walker, “ComVest, as the Requisite Lenders,

 would not seek to exercise any rights and would not allow others to do so given the current state

 of negotiations between ComVest and Yucaipa.”

        105.    At this same meeting, Scott Macaulay, Allied's chief financial officer, advised the

 Board that Allied had $16.5 million of cash on hand, of which $12.3 million was immediately

 available. Of that $12.3 million, $2 million was needed for insurance premium payments,


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 leaving, as a practical matter, $10.3 million in immediately available cash on hand. Mr.

 Macaulay advised that making the interest payment of $4.8 million to the First Lien Facility

 lenders would leave Allied with $5.5 million of immediately available cash on hand.

 Accordingly, Allied had sufficient funds available to make its payment and to stay current on its

 payment obligations under the First Lien Facility.

         106.    Nevertheless, notwithstanding the fact that Allied had sufficient liquidity to pay

 debt service under the First Lien Facility, in order to facilitate Yucaipa’s interests in negotiations

 with ComVest, Defendant Walker’s motion that Allied forego the quarterly interest payment that

 it owed the First Lien Facility lenders on August 4, 2009 carried unanimously. Based upon the

 information disclosed to the Committee to date, it does not appear that the Special Committee

 ever met to consider or evaluate Defendant Walker’s motion, notwithstanding that it was clearly

 in Yucaipa’s interests (but not the Debtor's) for Allied not to make the payments owing under the

 First Lien Facility.

         107.    Of course, these were hardly the only defaults by Allied under the First Lien

 Credit Agreement. Indeed, since August 2008, Allied had been in continuous default under the

 First Lien Credit Agreement, as it failed to meet financial covenants set forth in the First Lien

 Credit Agreement. Additionally, Allied later disclosed that as of August 30, 2008, it had failed

 to fulfill its requirement under the First Lien Credit Agreement to disclose Yucaipa’s acquisition

 of Second Lien Debt in June and July 2008. The failure to disclose Yucaipa’s purchase of that

 debt also constituted an Event of Default under the First Lien Credit Agreement. Yucaipa

 directed or caused Allied to fail to disclose the acquisition of debt by Yucaipa in June and July

 2008.




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        (k)    Yucaipa Completes Its Backup Plan to Take Total Control Over Allied’s
               Financial Structure, as it Causes Allied to Execute The Purported Fourth
               Amendment

        108.   While it was causing Allied to further default on its obligations to its creditors,

 Yucaipa continued negotiations with ComVest to complete its backup plan to cement its total

 control over Allied. During this time, Yucaipa engaged in negotiations with ComVest without

 the involvement of Allied in connection with the potential dramatic changes to Allied’s secured

 debt. Yucaipa’s negotiating team consisted of Defendant Walker, Defendant Tochner, Stephanie

 Bond and Ronald Burkle.

        109.   Much of the early negotiations between Yucaipa and ComVest utilized a go-

 between, Jonathan Ornstein, the Chief Executive Officer of Mesa Airlines. On August 3, 2009

 (the same day that the Allied Board agreed to Defendant Walker’s motion for Allied not to make

 outstanding payments under the First Lien Facility), Yucaipa made a proposal to ComVest,

 through Mr. Ornstein, which provided:

        Proposed Terms

        1. Yucaipa buys all debt currently held by ComVest in Allied (~145MM face) at
        ComVest’s cost (~$43MM)

        2. ComVest’s [sic] receives a 20% profit interest on all investments currently
        held by Yucaipa in Allied, including the debt purchased from ComVest

        3. ComVest has the right but not the obligation to buy a 20% participation
        interest in any debt or equity investment made by Yucaipa in connection with the
        restructuring of Allied on the same economic terms as Yucaipa

        4. Amendment no. 4 to credit agreement allowing Yucaipa to hold debt with no
        restrictions as to amount will become effective prior to the closing of the
        transaction contemplated herein

        110.   Later that day, Yucaipa and ComVest had further telephone calls, which led to the

 parties largely reaching agreement on the following terms:

        ComVest as requisite lender will amend the credit agreement to allow Yucaipa to

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        purchase and hold first lien debt of Allied
        Yucaipa will purchase $145m face value of Allied’s first lien from ComVest for $44m /
        $55 m (bid / ask difference to be agreed to by both parties prior to closing)
        ComVest will be paid its accrued interest at Closing (Ira, we did not discuss this but I
        assumed this was the case)
        ComVest would receive a 20 / 25% participation in ALL of Yucaipa’s profits (bid / ask
        difference to be agreed to by both parties prior to closing)
        Allied would pay all of ComVest legal fees including the $820k of Cooper and
        restructuring legal incurred to date
        ***
        If anyone has any issues with the foregoing please address them immediately as Allied’s
        lawyers have commenced drafting of the documents.

        111.    Accordingly, as of August 3, 2009, Yucaipa had struck a deal with ComVest

 whereby those parties agreed to amend the terms of the First Lien Agreement to provide

 precisely the opposite of what was always intended, namely that Yucaipa would now be

 permitted to control the entirety of Allied’s debt structure. Yucaipa reached this deal only by

 promising ComVest future upside in all of Yucaipa’s investments in Allied, both debt and equity,

 including any future investments. What is more, Yucaipa and ComVest apparently caused

 Allied’s own attorneys to begin drafting the documents that were designed to effectuate this

 scheme prior to any approval from the Allied Board. As if that were not enough, Yucaipa and

 ComVest caused Allied to pay for the pleasure of having these two entities agree amongst

 themselves to so dramatically alter Allied’s own capital structure.

        112.    Thereafter, Yucaipa and ComVest largely finalized the terms of the purported

 Fourth Amendment on their own. While Allied and its attorneys were copied on certain

 communications between Yucaipa and ComVest, for the most part, the process was driven by

 and for the benefit of Yucaipa and ComVest, not for Allied and its stakeholders. The transaction

 was ultimately approved by Allied’s Board on August 19, 2009, at the recommendation of the

 purportedly independent Special Committee. Despite the approval, neither Allied’s Special

 Committee, nor the full Board, played any significant role in the negotiations of the terms of the


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 Fourth Amendment. Instead, the Allied Directors simply went along for the ride as Yucaipa

 completed its backup plan to cement control over Allied.

        113.    As detailed in the terms reached in the August 3, 2009 email, the Fourth

 Amendment, and its associated agreements including the Loan Purchase Agreement and the

 Assignment and Assumption Agreement (collectively, the “Fourth Amendment Agreements”),

 provided ComVest with a potentially perpetual right to 20% of the profits made by Yucaipa in all

 of its investments in Allied, whether they be debt or equity investments. Furthermore, under the

 Fourth Amendment Agreements, ComVest was granted the ability to purchase up to 20% of any

 future investments by Yucaipa of Allied, including through or part of any reorganization or

 bankruptcy of Allied, whether such investments were nominally debt or equity.

        114.    The purported Fourth Amendment purported to eliminate all of the Third

 Amendment’s restrictions on Yucaipa’s ability to obtain First Lien Debt. The Fourth

 Amendment purports to amend the First Lien Agreement’s definitions of “Eligible Assignee”

 and “Term Loan Exposure” such that Yucaipa’s ability to acquire certain First Lien Debt is no

 longer capped. (Fourth Amendment § 2.1(b).) It further purports to eliminate the voting

 restrictions for debt obtained by Yucaipa, purports to remove the $50 million cap, and purports

 to eliminate the capital contribution requirement. (Id. § 2.4(a).)

        115.    The Fourth Amendment Agreements were executed on August 21, 2009,

 simultaneously with the Fourth Amendment itself. Through the Loan Purchase Agreement and

 the Assignment and Assumption Agreement, Yucaipa now purports to hold “$114,712,088.66 of

 Term Loans and $30,400,458.40 of LC Commitments (i.e. deposits to support letter of credit),

 totaling $145,112,547.06 of the $265,000,000 maximum first lien loans authorized by the First

 Lien Credit Agreement,” according to Yucaipa’s Cross-Claims. (Adv. Pro. No. 12-50947



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 (Bankr. D. Del.), D.I. 65 at ¶17.) Yucaipa paid an initial total of $43,013,927.04 for these

 nominal debt holdings.

        116.      Additionally, as part of the Loan Purchase Agreement, ComVest’s willingness to

 assign its First Lien Debt holdings to Yucaipa was conditioned upon the payment of $1,850,000

 from Allied for its alleged fees and expenses. Allied was also forced to pay $831,325.83 in fees

 and expenses to Yucaipa for its efforts to subvert and eliminate the First Lien Credit

 Agreement’s restriction upon Yucaipa’s ability to become the Requisite Lender under the First

 Lien Facility.

        117.      Following the execution of the Fourth Amendment, the Assignment and

 Assumption Agreement, and the Loan Purchase Agreement, Yucaipa contended that it was the

 Requisite Lender under the Credit Agreement.

        (l)       Having Executed its Backup Plan Through the Fourth Amendment, Yucaipa
                  Plans to Eliminate the Threat to Its Equity Position

        118.      Having succeeded in its backup plan to take control over the entire secured debt

 structure of Allied, Yucaipa next turned to planning a reorganization of Allied that would further

 cement and protect its equity holdings in the Company.

        119.      On August 29, 2009, just days after the execution of the Fourth Amendment and

 the associated agreements between Yucaipa and ComVest, Yucaipa prepared a presentation in

 which it laid out “three main alternatives for a consensual restructuring of Allied,” which

 included, (i) a credit bid of Yucaipa’s claims, now including the First Lien debt acquired from

 ComVest, (ii) an out of court restructuring where existing debt was converted to equity, or (iii)

 an out of court restructuring with a “liquidation preference.” Under all three scenarios

 envisioned by Yucaipa, the existing secured debt of Allied would be replaced but Yucaipa’s

 existing equity holdings would be protected. Indeed, under all three Yucaipa scenarios, Yucaipa


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 would continue to own at least sixty (60) percent of the equity of a reorganized Allied and,

 therefore, would continue to control the company.

         120.    During this time, Yucaipa pursued discussions with other parties and entities that

 had an interest in the First Lien Facility concerning the potential of a reorganization of Allied

 whereby the existing debt of Allied would be converted to equity or wiped out. Neither Yucaipa

 nor the Allied Directors considered during this time whether such a reorganization strategy

 would be consistent with the fiduciary obligations owed by Yucaipa and the Allied Directors to

 Allied as a whole and its stakeholders, including its creditors.

         121.    Additionally, following the execution of the Fourth Amendment, and its

 associated agreements, Yucaipa took additional steps to protect Yucaipa's equity position at the

 expense of Allied’s legitimate creditors. As noted above, beginning in August 2009, Allied, at

 Yucaipa’s direction, began to refuse to make regularly scheduled payments of principal and

 interest under the First Lien Facility. Additionally, Yucaipa also caused Allied to fail to

 reimburse collateral accounts that secured the First Lien Facility’s letter of credit facility, to

 attempt to terminate certain control agreements, and to retain excess cash all in violation of the

 terms of the First Lien Credit Agreement. These steps frustrated the rights of secured and

 unsecured creditors to attempt to remedy defaults committed by Allied, all during a period in

 which Allied was insolvent and in default of its obligations to creditors.

         (m)     Litigation Surrounding the Purported Fourth Amendment

         122.    Although Yucaipa has claimed to be the Requisite Lender under the Credit

 Agreement in light of the purported Fourth Amendment, its claim to that position has been hotly




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 contested around the country and has been an issue in at least three separate proceedings (the

 third of which includes multiple adversary proceedings in the Delaware Action).6

                  (i)      The Georgia Litigation

         123.     Approximately one month after the execution of the Fourth Amendment and

 affiliated agreements, the majority of the other First Lien lenders objected to Yucaipa’s

 acquisition and instructed CIT, which acted as the Administrative Agent and Collateral Agent

 under the First Lien Credit Agreement, to object to Yucaipa’s claim to be the Requisite Lender

 and to challenge the validity of the Fourth Amendment.

         124.     Following CIT’s objection to the Fourth Amendment, Yucaipa and Allied, at

 Yucaipa’s direction, brought suit against CIT in the Superior Court of Fulton County, Georgia

 (the “Georgia Action”),7 seeking, among other things, a declaratory judgment that the Fourth

 Amendment was valid and that Yucaipa was the Requisite Lender. In response, CIT filed

 counterclaims seeking, among other things, a declaration that the Fourth Amendment was invalid

 and stating claims for breach of fiduciary duty against the Allied Board and aiding and abetting

 breach of fiduciary duty against Yucaipa.

         125.     Shortly after filing a motion for partial summary judgment in its favor, CIT

 entered into a settlement agreement with Allied and Yucaipa. The Settlement Agreement made

 clear that the settlement was made solely by CIT in its individual capacity and did not release

 any claims that may have existed on behalf of “any other person.”


 6
  The Intervenors commenced on January 25, 2013 an adversary proceeding before this Court related to the same
 issues. BDCM Opportunity Fund II, LP, et al. v. Yucaipa American Alliance Fund, I, LP et al., Adv. Pro. No. 13-
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  In addition to the Georgia Litigation, the purported Fourth Amendment spawned a separate lawsuit against
 ComVest in Florida state court. In that case, Michael T. Riggs and affiliated entities sued ComVest, claiming that
 by entering into the transaction with Yucaipa that ComVest had breached various letters of intent and other
 agreements that contemplated a transaction involving Allied. That lawsuit has apparently been stayed pending these
 bankruptcy cases.

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                (ii)    The New York Action

        126.    On January 17, 2012, just weeks after the settlement of Yucaipa and Allied’s

 lawsuit against CIT, the Intervenors commenced an action against Yucaipa in the Supreme Court

 of the State of New York (the “New York Action”) seeking a declaration from the court that “(i)

 the purported Fourth Amendment is null and void, ineffective, and not binding,” and (ii) that

 “Yucaipa is not Requisite Lenders under the Credit Agreement.”

        127.    Yucaipa’s motion to dismiss the New York Action was denied at a May 30, 2012

 hearing without a written opinion, and the transcript of that hearing was “So Ordered” on August

 2, 2012.

        128.    The Intervenors moved for summary judgment on August 27, 2012. At oral

 argument on that motion on November 19, 2012, the court indicated it would grant the motion

 for summary judgment and indicated it would subsequently issue a written order, as Yucaipa has

 acknowledged (Adv. Pro. No. 12-50947 (Bankr. D. Del.), D.I. 65 at ¶88).

        (n)     Yucaipa Has Failed to Perform Under the Third Amendment

        129.    By virtue of the ruling in the New York Action, the Fourth Amendment has now

 been found to be invalid such that reliance on the Fourth Amendment now is misplaced.

 Accordingly, the Third Amendment is again the operative amendment to the First Lien Credit

 Agreement and its terms, including the contribution provisions and limitations upon Yucaipa’s

 debt holdings, are binding and controlling.

        130.    However, notwithstanding the ruling in the New York Action, Yucaipa has

 refused to perform in accordance with the terms of the First Lien Credit Agreement, as amended

 by the Third Amendment. Indeed, even if the forthcoming written ruling in the New York

 Action withstands any appeal that Yucaipa claims it will bring, Yucaipa expressly contends in

 this proceeding that it would refuse to perform the obligations contained in the First Lien Credit

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 Agreement, as amended by the Third Amendment. (Adv. Pro. No. 12-50947 (Bankr. D. Del.),

 D.I. 65 ¶¶ 109, 118-122, 130). Yucaipa's cross claims against the Interventors, setting forth its

 refusal to perform under the Third Amendment, were dismissed with prejudice by this Court on

 February 27, 2013.

         (o)     The Filing of These Bankruptcy Cases and Yucaipa’s Attempt to Fulfill its
                 Plan to Protect its Equity Investment

         131.    On May 18, 2012, the Intervenors filed these involuntary bankruptcy proceedings,

 alleging that Yucaipa had caused Allied to be mismanaged and had caused Allied to be in default

 under the First Lien Credit Agreement. Subsequently, Allied consented to the bankruptcy cases

 and filed a voluntary petition under chapter 11 of the Bankruptcy Code.

         132.    Since that time, Yucaipa has sought to complete its long-standing plans for Allied.

 In particular, Yucaipa has repeatedly stated that it was preparing to bid to takeover Allied.

 Yucaipa would essentially retain its control over Allied’s equity through any bid and eliminate

 existing debt of Allied, both secured and unsecured.

                                      CLAIMS FOR RELIEF

                                       First Claim for Relief

            Equitable Subordination Pursuant to 11 U.S.C. § 510(c) against Yucaipa

         133.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 132 as if fully set forth herein.

         134.    The equities in this case demand that the amounts allegedly owed to Yucaipa on

 account of the First and Second Lien Facilities should be subordinated to all other claims except

 those of equity interest holders under 11 U.S.C. § 510(c).




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         135.    Yucaipa, as the owner of a super-majority of the outstanding equity in the Debtors

 and having been able to appoint at least three of the five directors on Allied’s board of directors,

 was at all times, and still is, an insider of the Debtors.

         136.    Yucaipa and its agents, including the members of Allied’s Board appointed by

 Yucaipa, breached their fiduciary duties of good faith, honest governance, loyalty and care to

 Allied and its creditors by, among other wrongs, looting and engaging in self-dealing

 transactions for Yucaipa’s own benefit and to the detriment of the Debtors and their creditors.

         137.    Yucaipa’s inequitable conduct injured Allied and its creditors by, among other

 things, causing the Company to fail to repay amounts outstanding under its various debt facilities

 and to expend millions of dollars in fees and other amounts that served no one’s interest but

 those of Yucaipa. In addition, Yucaipa acted inequitably toward Allied by improperly exercising

 its control over Allied and causing Allied to pay for and consent to a series of transactions

 effectuating Yucaipa’s purported acquisition of a majority of the outstanding secured debt of

 Allied, all with the express intention of causing Allied to sell its assets to Yucaipa through the

 guise of a bid that would eliminate legitimate debt of Allied while protecting the equity interests

 of Yucaipa at the expense of the Debtors and their creditors.

         138.    Plaintiff believes that equitable subordination of Yucaipa’s purported debt

 holdings to all other claims except those of equity interest holders is consistent with the

 provisions of the Bankruptcy Code. Yucaipa should not be permitted to profit from an illicit

 scheme that it willingly, and intentionally, imposed upon Allied and its creditors, in violation of

 its fiduciary duties of good faith and loyalty.

         139.    For the reasons set forth above, Yucaipa’s claims, in total, against the Debtors

 should be subordinated to all other claims asserted against the Debtors pursuant to section 510(c)



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 of the Bankruptcy Code because Yucaipa’s inequitable conduct resulted in injury to the Debtors’

 creditors as a whole and conferred an unfair advantage on Yucaipa, and such subordination

 would be consistent with the provisions of the Bankruptcy Code.

                                      Second Claim for Relief

  Equitable Subordination Pursuant to 11 U.S.C. § 510(c) against Yucaipa for Harm to All
                           First Lien and Second Lien Lenders

         140.     Intervenors repeat and reallege each and every allegation in paragraphs 1 through

 139 as if set forth fully herein.

         141.    At all times relevant hereto, Yucaipa was an insider of the Debtor.

         142.    As more fully described above, Yucaipa has engaged in unfair and inequitable

 conduct towards First Lien and Second Lien Lenders in that Yucaipa has manipulated the

 Debtors as an insider and in its capacity as alleged Requisite Lender and has engaged in

 overreaching with respect to the Debtors and their creditors by, among other things:

         (a)     Yucaipa caused the Debtors to favor Yucaipa at the expense of other non-insider
                 creditors.

         (b)     Yucaipa improperly acted as Requisite Lender by failing to permit First Lien
                 Lenders to exercise legitimate rights and remedies.

         (c)     Yucaipa caused the Debtors to abdicate their duty to maximize value, in favor of
                 protecting Yucaipa's ownership position.

         (d)     Yucaipa pressured Debtors' management repeatedly to defer to Yucaipa for the
                 sole benefit of Yucaipa.

         143.    Yucaipa's inequitable conduct has resulted in injury to First Lien and Second Lien

 Lenders by conferring unfair advantages upon Yucaipa in at least the following ways:

         (a)     Yucaipa caused the Debtors to adopt a business strategy to benefit Yucaipa at the
                 expense of Plaintiffs.

         (b)     Yucaipa prevented the Debtors from developing restructuring proposals that
                 maximize value for Intervenors.


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         (c)      Yucaipa forced the Debtors to place the interests of Yucaipa above the Debtors'
                  own interests and those of the Intervenors, including but not limited to
                  orchestrating amendments to the Credit Agreement solely for the benefit of
                  Yucaipa.

         144.     As a result of Yucaipa's conduct, First Lien and Second Lien Lenders have been

 materially harmed.

         145.     Granting the relief sought herein against Yucaipa is consistent with the

 Bankruptcy Code and is appropriate based on the indisputable facts of this case.

         146.     Pursuant to 11 U.S.C. §510(c), all distributions to Yucaipa on account of its

 status as First Lien Lender and Second Lien Lender should be subordinated to the claims of all

 First Lien and Second Lien Lenders.

                                        Third Claim for Relief

          Recharacterization Pursuant to 11 U.S.C. § 105(a) of Yucaipa’s Purported
          Debt Holdings Under the First and Second Lien Facilities against Yucaipa

         147.     Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 146 as if fully set forth herein.

         148.     The substance and character of Yucaipa’s purported debt holdings under the First

 Lien Facility and Second Lien Facility is one of an equity contribution.

         149.     Considering the totality of the circumstances surrounding Yucaipa’s scheme to

 take control of Allied’s outstanding debt, including, but not limited to, its acquisition of Second

 Lien Debt, the Third Amendment to the First Lien Credit Agreement, the Fourth Amendment to

 the First Lien Credit Agreement, the Assignment and Assumption Agreement, and the Loan

 Purchase Agreement, Yucaipa’s claims against the Debtors should be recharacterized as equity

 interests based on, but not limited to, the following factors:

               a) Since at least the spring of 2008, Yucaipa has sought in a number of proposed
                  transactions to obtain First and Second Lien Facility Debt that it acknowledged
                  would be converted into equity in connection with a reorganization of Allied;
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             b) Yucaipa’s goal of obtaining First and Second Lien Debt was a transparent effort
                to control both sides of the lending equation—it has controlled the borrower
                through its majority equity holdings and accompanying power to appoint a
                majority of the Board, and it has sought to control the First Lien and Second Lien
                Debt by attempting to become the Requisite Lender under both facilities;

             c) Yucaipa has never sought to obtain First or Second Lien Debt as debt, as it never
                intended to enforce the right of a debt holder to receive regularly scheduled
                payments of principal and interest on the debt;

             d) Indeed, given the restrictions that would have attended any First Lien Debt that it
                would have acquired under the Third Amendment, in Yucaipa’s Cross-Claims in
                these proceedings and in the New York Action, it has admitted that it did not
                acquire any First Lien Debt under the Third Amendment, “never would have,”
                and “never intended to purchase any debt claims that would make it bound by the
                Third Amendment’s provisions” (Adv. Pro. No. 12-50947 (Bankr. D. Del.), D.I.
                65 at p. 15), an admission that it was only interested in acquiring First Lien Debt
                to the extent that it could achieve Requisite Lender status in furtherance of its
                equity interests;

             e) Yucaipa’s acquisition of First and Second Lien Debt was in the nature of an
                equity contribution because it was only acquired in furtherance of Yucaipa’s
                equity interest in Allied and the acquisition terms—including the 20% upside
                potential for ComVest—demonstrate that the parties are treating Yucaipa’s
                acquisition as a form of equity contribution.

         150.    For the reasons set forth above, Yucaipa’s claims against the Debtors under the

 First Lien Facility and Second Lien Facility should be recharacterized as equity pursuant to

 section 105(a) of the Bankruptcy Code.

                                      Fourth Claim for Relief

                           Specific Performance of Third Amendment
         to the First Lien Credit Agreement against Yucaipa (Contribution Provision)

         151.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 150 as if fully set forth herein.

         152.    As a purported holder of First Lien Debt, Yucaipa is bound by the terms of the

 First Lien Credit Agreement, as amended.




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        153.    The court in the New York Action has declared that the Fourth Amendment is

 invalid. Accordingly, because the Fourth Amendment has been found to be null and void, the

 Third Amendment is enforceable and its terms govern the holdings of any holders of First Lien

 Debt, including Yucaipa.

        154.    Pursuant to the terms of the Third Amendment, Yucaipa is obligated to make a

 capital contribution of fifty (50) percent of the face value of certain First Lien Debt holdings that

 it acquired within ten days of the acquisition of such debt. Specifically, under Section 10.6(j)(iii)

 of the First Lien Credit Agreement,

                     “(j) Restricted Sponsor Affiliates. …Each Lender that is a Restricted
        Sponsor Affiliate, upon succeeding to an interest in the Term Loans:
                     …

                      (iii) agrees further that no later than ten days after the date of such
        assignment or transfer of such Term Loans (or, if a Default or Event of Default occurs
        during such ten day period, then three Business Days after such Restricted Sponsor
        Affiliate has knowledge of the occurrence of such Default or Event of Default but in no
        event later than the last day of such ten day period), such Restricted Sponsor Affiliate
        shall make a capital contribution to Borrowers of no less than 50% of the aggregate
        principal amount of such Term Loans in accordance with Section 10.6(k);


        155.    Yucaipa acquired a total of $145,112,547.06 in First Lien Debt, $114,712,088.66

 in the form of Term Loans.

        156.    Yucaipa has breached the First Lien Credit Agreement by failing to make the

 capital contribution of not less than $57,356,044.33, required by the Third Amendment.

        157.    Plaintiff has no adequate remedy at law for the harm that will continue to be

 caused by Yucaipa's continued breach of the First Lien Credit Agreement, as amended by the

 Third Amendment.

        158.    Accordingly, Plaintiff is entitled to a decree of specific performance by Yucaipa

 of its obligations under the First Lien Credit Agreement, as amended by the Third Amendment,

 to, among other things, make the required capital contribution of not less than $57,356,044.33.
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                                       Fifth Claim for Relief

                                  Breach of Third Amendment
         to the First Lien Credit Agreement against Yucaipa (Contribution Provision)

         159.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 158 as if fully set forth herein.

         160.    As a purported holder of First Lien Debt, Yucaipa is bound by the terms of the

 First Lien Credit Agreement, as amended.

         161.    The court in the New York Action has declared that the Fourth Amendment is

 invalid. Accordingly, because the Fourth Amendment has been found to be null and void, the

 Third Amendment is enforceable and its terms govern the holdings of any holders of First Lien

 Debt, including Yucaipa.

         162.    Pursuant to the terms of the Third Amendment, Yucaipa is obligated to make a

 capital contribution of fifty (50) percent of the face value of certain First Lien Debt holdings that

 it acquired within ten days of the acquisition of such debt. Specifically, under Section 10.6(j)(iii)

 of the First Lien Credit Agreement,

                     “(j) Restricted Sponsor Affiliates. …Each Lender that is a Restricted
        Sponsor Affiliate, upon succeeding to an interest in the Term Loans:
                     …

                      (iii) agrees further that no later than ten days after the date of such
        assignment or transfer of such Term Loans (or, if a Default or Event of Default occurs
        during such ten day period, then three Business Days after such Restricted Sponsor
        Affiliate has knowledge of the occurrence of such Default or Event of Default but in no
        event later than the last day of such ten day period), such Restricted Sponsor Affiliate
        shall make a capital contribution to Borrowers of no less than 50% of the aggregate
        principal amount of such Term Loans in accordance with Section 10.6(k);


         163.    Yucaipa acquired a total of $145,112,547.06 in First Lien Debt, $114,712,088.66

 in the form of Term Loans.




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         164.    Yucaipa has breached the First Lien Credit Agreement by failing to make the

 capital contribution of not less than $57,356,044.33, required by the Third Amendment.

         165.    Yucaipa's breach of the First Lien Credit Agreement, as amended by the Third

 Amendment has caused, and will continue to cause, substantial monetary damages to the Debtors

 and their creditors, in an amount to be determined at trial, but reasonably believed to be an

 amount not less than $57,356,044.33, plus interest.

                                        Sixth Claim for Relief

   Specific Performance of Third Amendment to the First Lien Credit Agreement against
                               Yucaipa (Divestiture of Debt)

         166.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 165 as if fully set forth herein.

         167.    Even after giving effect to the terms of the First Lien Credit Agreement, as

 amended by the Third Amendment, requiring Yucaipa to pay the requisite capital contribution of

 not less than $57,356,044.33, Yucaipa is still in material breach of the terms of the First Lien

 Credit Agreement, as amended by the Third Amendment.

         168.    Yucaipa has breached the First Lien Credit Agreement by exceeding the

 maximum permissible limits under the First Lien Credit Agreement on the acquisition of Term

 Loan Exposure under Section 10.6(c) after giving effect to the mandatory capital contribution in

 Section 10.6(j)(iii). Specifically, Section 10.6(c)(ii) provides, in relevant part:

                       "provided further, that (x) no Lender may sell, assign, transfer or otherwise
        convey any of its rights and obligations under this Agreement (including the
        Commitments, the LC Deposits or the Loans) to a Restricted Sponsor Affiliate and no
        Restricted Sponsor Affiliate shall acquire any such rights or obligations, in each case if
        (A) immediately prior to and after giving effect to such assignment or transfer the
        aggregate amount of the Term Loan Exposure held or beneficially owned by all Restricted
        Sponsor Affiliates would exceed 25% of the aggregate principal amount of the Term Loan
        Exposure held or beneficially owned by all Lenders (including Restricted Sponsor
        Affiliates) or (B) after giving effect to such assignment or transfer, the aggregate amount
        of Term Loans acquired by all Restricted Sponsor Affiliates since the Closing Date would

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        exceed $50 million (notwithstanding whether all or any portion of such acquired Term
        Loans have been contributed to Borrowers or otherwise disposed of by the Restricted
        Sponsor Affiliates) and (y) assignments by or to a Restricted Sponsor Affiliate shall be
        further subject to Section 10.6(j).”

        169.    Section 10.6(j)(iii) further provides that the “Restricted Sponsor Affiliate shall

 make a capital contribution to Borrowers of no less than 50% of the aggregate principal amount

 of such Term Loans . . . .”

        170.    Under the terms of the Third Amendment, then, at most, Yucaipa would be

 permitted to hold no more than $25 million of the principal amount of Term Loans under the

 First Lien Credit Agreement.

        171.    Yucaipa purports to hold $114,712,088.66 in Term Loans under First Lien Credit

 Agreement, which, even after reducing such amount by an award of monetary damages or

 conversion of such holdings into a capital contribution by $57,356,044.33, is still $32,356,044.33

 greater than permitted under the First Lien Credit Agreement, as amended by the Third

 Amendment.

        172.    Plaintiff has no adequate remedy at law for the harm that will continue to be

 caused by Yucaipa’s continued breach of the First Lien Credit Agreement, as amended by the

 Third Amendment, even after Yucaipa is required to make the requisite capital contribution.

        173.    Accordingly, Plaintiff is entitled to a decree of specific performance by Yucaipa

 of its obligations under the First Lien Credit Agreement, as amended by the Third Amendment,

 to, among other things, divest itself of not less than $32,356,044.33 of Term Loans under the

 First Lien Credit Agreement.




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                                      Seventh Claim for Relief

                             Breach of Fiduciary Duty against Yucaipa

         174.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 173 as if fully set forth herein.

         175.    As the controlling shareholder of Allied, Yucaipa owed Allied and, as of early

 2008, its creditors, fiduciary duties of good faith, honest governance, loyalty and care.

         176.    In addition to its ability to influence Allied by yielding no less than 67% of the

 voting power of equity, Yucaipa exercised further improper influence over Allied by entering

 into a consulting agreement with Allied as of May 29, 2007. Through this “Monitoring and

 Management Services Agreement” (“MMSA”), Allied was induced to and did repose confidence

 in Yucaipa and its alleged superior knowledge and capabilities in negotiating with Allied’s

 customers and its employees. However, Yucaipa engaged in a self-serving campaign that

 extracted unnecessary and unreasonable fees from Allied and acted to ensure that Yucaipa and its

 interests would be served before the interests of Allied and its creditors.

         177.    In violation of its fiduciary duties, Yucaipa engaged in inequitable conduct with

 regard to Allied and its creditors by entering into the transactions described above, whereby

 Yucaipa purported to seize control over the First and Second Lien Facilities with the intention of

 protecting its equity investment in the Debtors, while knowing that Allied was, at best,

 undercapitalized and insolvent. Yucaipa further engaged in inequitable conduct through its

 control of the board of directors of Allied, by causing the directors to fail to even consider

 potential transactions that could have benefitted Allied if such transactions held even the

 potential of harming Yucaipa’s equity interests. Yucaipa abused its position of trust and control

 over the Debtors by structuring transactions that were nominally in the name of the Debtors but



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 were, in reality, actually structured in a manner to ensure and protect Yucaipa’s existing equity

 investments in Allied.

         178.    The Debtors and their creditors have suffered damages in an amount to be proved

 at trial as a result of Yucaipa’s breaches of its fiduciary duties.

                                       Eighth Claim for Relief

                      Breach of Fiduciary Duty against the Allied Directors

         179.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 178 as if fully set forth herein.

         180.    As members of the Board, the Allied Directors owed Allied and, as of at least

 early 2008, when Allied became insolvent, owed its creditors fiduciary duties of loyalty and care.

         181.    The Allied Directors breached their fiduciary duty of loyalty to Allied by

 consciously and intentionally disregarding the responsibilities they bore to deal with Allied’s

 debt structure in a manner that did not unduly benefit Yucaipa as Allied’s primary equity holder.

 In abdicating their responsibilities they violated their fiduciary duties to act loyally to the

 corporation and in good faith.

         182.    Specifically, the Allied Directors consciously and intentionally turned away from

 their responsibilities to Allied when they failed to ensure that Allied, and not Yucaipa, would

 negotiate the terms of, and ensure compliance with, any amendments to the outstanding loan

 facilities that could allow Yucaipa to acquire any of Allied’s outstanding secured debt. In

 derogation of those duties, however, the Allied Directors consciously permitted Yucaipa to

 control the drafting of the Third Amendment and the Fourth Amendment to the First Lien Debt

 Facilities in a manner that attempted to ensure that Yucaipa could control the outstanding




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 secured debt of the company in a manner that would protect Yucaipa’s interests, without regard

 to the interests of Allied and its creditors.

         183.    Additionally, the Allied Directors consciously and intentionally failed to consider

 potential transactions that could have potentially greatly benefitted Allied if such transaction held

 even the potential of harming Yucaipa’s equity interests in the Company. In derogation of their

 duties to benefit the Company, not Yucaipa, the Allied Directors failed to even engage in

 negotiations with lenders concerning potential restructuring alternatives that could have

 benefitted the Company and its balance sheet, if such transactions were not likely beneficial to

 Yucaipa.

         184.    The Allied Directors also consciously and intentionally disregarded their

 obligations to the corporation by repeatedly failing to make legitimate or conscientious efforts to

 ensure that any transactions involving the Company and Yucaipa, including the acquisition of

 outstanding secured debt, were in the Company’s interests, not only Yucaipa’s interests. While

 the board of directors appointed a purported “Special Committee” of independent directors to

 evaluate any transaction involving Yucaipa, the committee was neither special nor independent

 and utterly failed in its purpose. Indeed, the “Special Committee” never hired independent

 advisors, and repeatedly failed to engage in deliberations separate and apart from deliberations

 with the Yucaipa directors, but instead would merely meet and deliberate after presentations by

 and deliberations with the conflicted Yucaipa directors and the ordinary advisors to the

 Company, whose retention was subject to the whims of Yucaipa and its control over Allied.

         185.    Additionally, the Allied Directors violated their duties of loyalty and care to the

 corporation by permitting and approving the payment of millions of dollars in purported fees

 paid to or on behalf of Yucaipa. The Allied Directors failed to ensure that Allied received any



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 benefit from the millions of dollars that were scheduled to be paid to or on behalf of Yucaipa

 were necessary and appropriate

         186.    The Allied Directors further violated their duties of care through their gross

 negligence of their obligation to seek information about Yucaipa’s intentions once and if it

 acquired a majority stake in the outstanding secured debt of the Company. This failure to act,

 and the approvals of the amendments to the secured debt facilities that enabled Yucaipa to seize

 complete control over every aspect of the Debtors’ capital structure, were breaches of the Allied

 Directors fiduciary duties of loyalty and care.

         187.    The Debtors have suffered damages in an amount to be proved at trial as a result

 of the Allied Directors’ breach of fiduciary duties.

                                       Ninth Claim for Relief

   Aiding and Abetting Breach of Fiduciary Duty against the Allied Directors and Yucaipa

         188.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 187 as if fully set forth herein.

         189.    If and to the extent that any Defendant is found not to have owed a fiduciary duty

 to the Debtors at the time of the transactions complained of herein, each Defendant is

 nevertheless liable for having aided and abetted the breach of fiduciary duty of one or more of

 the other Defendants who are found to have direct responsibility for the breaches of such duties.

         190.    Each of the Defendants knowingly participated in or acquiesced to, benefitted

 from and aided and abetted the breach of fiduciary duty engaged in by the other Defendants.

         191.    The Allied Directors knowingly participated in Yucaipa’s breach of fiduciary duty

 by encouraging and approving the transactions described above which have injured the Debtors

 and its creditors.



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        192.     Yucaipa knew that the Allied Directors breached their fiduciary duties to Allied

 by entering into the transactions described above. Yucaipa knowingly participated in the Allied

 Directors’ breach by controlling and dictating the terms of the transactions that were nominally

 entered into by the Debtors but were at all times performed for and perpetrated by Yucaipa.

        193.     As a result of the insider transactions, which the Allied Directors and Yucaipa

 aided and abetted, the creditors of Allied have been damaged in an amount to be proved at trial

 in this action. At a minimum, the damages suffered by the Company, and thereby its creditors,

 include fees and interest paid to and on behalf of Yucaipa in connection with, among other

 things, the Third Amendment, the Fourth Amendment, the Loan Purchase Agreement and the

 Georgia Litigation, through which Yucaipa received, or received the benefit of having Allied pay

 for, millions of dollars in fees paid by Allied.

                                       Tenth Claim for Relief

               Avoidance and Recovery of Intentional and Constructive Fraudulent
                Transfers against Yucaipa Pursuant to 11 U.S.C. §§ 548(a) and 550

        194.     Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 193 as if fully set forth herein.

        195.     Upon information and belief, for Yucaipa’s benefit, the Debtor Allied Systems

 Holdings, Inc. or one of its Debtor affiliates transferred legal fees to Kasowitz, Benson, Torres &

 Friedman LLP (“Kasowitz”) totaling not less than $2,458,549.76 (the “Kasowitz Transfers”).

    196.         The Kasowitz Transfers are as follows:

                 a)     December 23, 2009: $19,155.09.

                 b)     March 8, 2010: $100,379.58.

                 c)     April 13, 2010: $38,128.38.

                 d)     April 16, 2010: $13,359.04.

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                e)     May 13, 2010: $98,894.79.

                f)     July 26, 2010: $101,538.66.

                g)     September 15, 2010: $191,526.39.

                h)     September 20, 2010: $304,033.11.

                i)     October 6, 2010: $209,165.47.

                j)     November 2, 2010: $360,447.42.

                k)     December 16, 2010: $111,808.98.

                l)     December 21, 2010: $4,897.50.

                m)     March 7, 2011: $237,893.64.

                n)     June 30, 2011: $100,000.00.

                o)     September 7, 2011: $117,321.71.

                p)     October 12, 2011: $200,000.00.

                q)     November 23, 2011: $100,000.00.

                r)     December 9, 2011: $75,000.00.

                s)     December 15, 2011: $75,000.00.

        197.    Upon information and belief, for Yucaipa’s benefit, the Debtor Allied Systems

 Holdings, Inc. or one of its Debtor affiliates transferred legal fees to Latham & Watkins LLP

 (“Latham”) totaling not less than $1,911,949.17 (the “Latham Transfers,” together with the

 Kasowitz Transfers, the “Law Firm Transfers”).

    198.        The Latham Transfers are as follows:

                a)     November 19, 2007: $13,701.44.

                b)     December 11, 2007: $26,064.71.

                c)     December 13, 2007: $196,295.99.



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               d)        January 2, 2008: $8,408.82.

               e)        May 2, 2008: $18,642.50.

               f)        October 15, 2008: $36,461.28.

               g)        December 31, 2008: $1,280,000.00.

               h)        December 23, 2009: $15,276.86.

               i)        December 31, 2009: $26,961.67.

               j)        February 4, 2010: $4,495.50.

               k)        September 23, 2010: $33,220.53.

               l)        October 6, 2010: $46,285.93.

               m)        December 9, 2010: $1,235.00.

               n)        December 31, 2010: $39,106.45.

               o)        March 11, 2011: $26,536.16.

               p)        December 27, 2011: $139,256.33.

        199.   Additionally, since May 29, 2007, the Debtors were required to transfer an annual

 management services fee of $1,500,000.00 per year to Yucaipa pursuant to the MMSA, whether

 or not Yucaipa provided such services (the “Yucaipa Transfers”).

        200.   Upon information and belief, for Yucaipa’s benefit, the Debtors transferred to

 ComVest $1,850,000 pursuant to the Loan Purchase Agreement on or about August 21, 2009

 (the “ComVest Transfer,” collectively with the Law Firm Transfers and any Yucaipa Transfers,

 the “Fraudulent Transfers”) whereby, in connection with the Fourth Amendment and the

 Assignment and Assumption Agreement, Yucaipa obtained ComVest’s First Lien Debt holdings.

        201.   The Debtors were controlled and dominated by Yucaipa on the date of each of the

 Fraudulent Transfers.



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        202.      The Debtors were controlled and dominated by Yucaipa when the ComVest

 Transfer was made.

        203.      Each of the Fraudulent Transfers constituted a transfer of an interest in property

 of the Debtors that were made to, or for the benefit of, Yucaipa.

        204.      The Debtors incurred one or more obligations that gave rise to each of the

 Fraudulent Transfers, and those obligations shall be defined as the “Fraudulent Obligations.”

        205.      The Debtors made each of the Fraudulent Transfers and incurred the Fraudulent

 Obligations with actual intent to hinder, delay, or defraud any entity to which the Debtors were

 or became, on or after the date that each such Fraudulent Transfer and Fraudulent Obligation was

 made, indebted.

        206.      The Debtors received less than a reasonably equivalent value in exchange for each

 of the Fraudulent Transfers and Fraudulent Obligations. Moreover, each of the Fraudulent

 Transfers and Fraudulent Obligations was made or incurred by the Debtors without a fair

 consideration.

        207.      At the time each of the Fraudulent Transfers was made and each of the Fraudulent

 Obligations was incurred, the Debtors (i) were insolvent, or became insolvent as a result of each

 such transfer or obligation; (ii) were engaged in business or a transaction, or were about to

 engage in business or a transaction, for which the property remaining with them was an

 unreasonably small amount of capital or was unreasonably small in relation to the business or

 transaction; and (iii) intended to incur, or believed that it would incur, debts that would be

 beyond its ability to pay as such debts matured or became due.

        208.      None of the recipients of the Fraudulent Transfers or the Fraudulent Obligations

        took such transfers or obligations for value and in good faith.



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         209.    Yucaipa was either the initial transferee of the Fraudulent Transfers, the entity for

 whose benefit the Fraudulent Transfers were made or an immediate or mediate transferee of the

 initial transferee of the Fraudulent Transfers.

         210.    The Fraudulent Transfers and Fraudulent Obligations made on or within two (2)

 years of the “Petition Date” (May 17, 2012 for Allied and Systems and June 10, 2012 for the

 other Debtors) constitute transfers or obligations avoidable by Plaintiff pursuant to section 548(a)

 of the Bankruptcy Code and such transfers are recoverable from Yucaipa pursuant to section 550

 of the Bankruptcy Code. For the foregoing reasons, Yucaipa is liable to the Debtors for the

 return of these Fraudulent Transfers, or their value, in an amount to be determined at trial, but

 not less than the sum of those transfers and conveyances, plus interest from the transfer dates,

 and costs and fees to the extent available for the benefit of the Debtors’ estates. Each Yucaipa

 Defendant is jointly and severally liable for the entire amount of each Fraudulent Transfer.

                                     Eleventh Claim for Relief

     Avoidance and Recovery of Intentional and Constructive Fraudulent Transfers and
           Conveyances against Yucaipa Pursuant to 11 U.S.C. §§ 544(b) and 550

         211.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 210 as if fully set forth herein.

         212.    At all relevant times, there has been at least one creditor – including but not

 limited to the members of the Committee – holding an unsecured claim against the Debtors that

 is allowable under section 502 of the Bankruptcy Code or that is not allowable only under

 section 502(e) of the Bankruptcy Code.

         213.    Each of the Fraudulent Transfers and Fraudulent Obligations identified above was

 made to a creditor whose claim arose before the transfer or obligation was made, and was made

 to an insider for an antecedent debt.

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          214.     At the time each of the Fraudulent Transfers was made, the Debtors were

 insolvent and the insider receiving the Fraudulent Transfer had reasonable cause to believe that

 the Debtors were insolvent.

          215.     The Fraudulent Transfers identified above constitute transfers and conveyances

 avoidable by Plaintiff pursuant to section 544(b) of the Bankruptcy Code and applicable state

 law8 and such transfers are recoverable from Yucaipa pursuant to section 550 of the Bankruptcy

 Code. The Fraudulent Obligations constitute obligations avoidable by Plaintiff pursuant to

 section 544(b) of the Bankruptcy Code and applicable state law as set forth above. Yucaipa is

 liable to the Debtors for the return of these Fraudulent Transfers, or their value, in an amount to

 be determined at trial, but not less than the sum of those transfers and conveyances, plus interest

 from the transfer dates, and costs and fees to the extent available for the benefit of the Debtors’

 estates. Each Yucaipa Defendant is jointly and severally liable for the entire amount of each

 Fraudulent Transfer.

                                            Twelfth Claim for Relief

          Preferential Transfers against Yucaipa Pursuant to 11 U.S.C. §§ 547 and 550

          216.     Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 215 as if fully set forth herein.

          217.     As described above, Yucaipa was at all relevant times, including at the times of

 the Fraudulent Transfers, and still is, an insider of the Debtors.

          218.     The Fraudulent Transfers that were made within one (1) year of the Petition Date

 (collectively, the “Preferential Transfers”) were made (i) to or for the benefit of a creditor, (ii) for

 or on account of an antecedent debt owed by the Debtors before such Preferential Transfers were
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   Applicable state law may include, without limitation, Cal. Civ. Code § 3439.01 et seq., Del. Code § 1301 et seq.,
 Fla. Stat. § 726.101 et seq., and Ga. Code Ann. § 18-2-70 et seq., and, if the Court should determine that this action
 is governed by the laws of other states, the applicable laws of such other states.

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 made, (iii) made while the Debtors were insolvent or presumed insolvent as a matter of law, and

 (iv) enabled such creditor would receive if (a) the case were a case under chapter 7 of the

 Bankruptcy Code, (b) the Preferential Transfers had not been made; and (c) such creditor

 received payment of such debt to the extent provided by the Bankruptcy Code.

         219.    The Preferential Transfers are transfers avoidable by Plaintiff pursuant to section

 547 of the Bankruptcy Code, and recoverable from Yucaipa pursuant to section 550 of the

 Bankruptcy Code.

         220.    For the foregoing reasons, Yucaipa is liable to the Debtors for the return of the

 Preferential Transfers, or their value, in an amount to be determined at trial, but not less than the

 sum of those transfers.

                                     Thirteenth Claim for Relief

                               Disallowance of Claim against Yucaipa

         221.    Plaintiff repeats and realleges each and every allegation in paragraphs 1 through

 220 as if fully set forth herein.

         222.    For Yucaipa’s benefit, the Debtors transferred millions of dollars, all of which is

 either recoverable or avoidable pursuant to the Bankruptcy Code.

         223.    By reason of the foregoing, pursuant to section 502(d) of the Bankruptcy Code,

 the Court shall disallow an amount, to be proven at trial, of Yucaipa’s claims.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court enter an order

         a)      subordinating Yucaipa’s claim, in total, against the Debtors to all other claims, or

 subordinating Yucaipa’s claim, in total, against the Debtors to such other claims as the Court

 may deem appropriate;



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        b)      recharacterizing Yucaipa’s claim against the Debtors under the First Lien Facility

 and Second Lien Facility as equity;

        c)      decreeing that Yucaipa specifically perform its obligations under the First Lien

 Facility, as amended by the Third Amendment;

        d)      entering judgment in favor of Plaintiff and Debtors for money damages due to

 Yucaipa’s breach of the First Lien Facility not less than $57,356,044.33, but in an amount to be

 proven at trial, plus pre-judgment interest;

        e)      entering judgment in favor of Plaintiff and Debtors for damages due to Yucaipa’s

 breach of fiduciary duties in an amount not less than $57,356,044.33, but in an amount to be

 proven at trial, plus pre-judgment interest;

        f)      entering judgment in favor of Plaintiff and Debtors for damages due to the Allied

 Directors’ breach of fiduciary duties in an amount not less than $57,356,044.33, but in an

 amount to be proven at trial, plus pre-judgment interest;

        g)      entering judgment in favor of Plaintiff and Debtors for damages due to

 Defendants’ aiding and abetting breach of fiduciary duty in an amount not less than

 $57,356,044.33, but in an amount to be proven at trial, plus pre-judgment interest;

        h)      entering judgment for Plaintiff to recover the value of the preferential and

 fraudulent transfers that Yucaipa caused the Debtors to make, in an amount to be proven at trial,

 plus pre-judgment interest;

        i)      disallowing an amount to be proven at trial of Yucaipa’s claim pursuant to section

 502(d) of the Bankruptcy Code;

        j)      awarding Plaintiff all reasonable attorneys’ fees, costs and disbursements in this

 action; and



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                                                                          January 12,2012



  Ladies and Gentlemen:

                  This letter agreement ("Agreement") is entered into and made by and among
  Black Diamond CLO 2005-1 LTD., BnCM Opportunity Fund n, L.P. (collectively, "Black
  Diamond") and Spectrum Investment Partners, L.P. (together with its affiliates, "Spectrum", and
  collectively with Black Diamond, the "Parties"), each of whom is a Lender under the First Lien
  Credit Agreement and/or the Second Lien Credit Agreement. I In the aggregate, the Parties own
  or control (or have the right to acquire), with power to vote, approximately $56.7 million in
  principal amount of the Obligations (prior to reduction of the LC Commitments) outstanding
  under the First Lien Credit Agreement ("Lender Claims").

                 In contemplation o£ among other things, the pursuit of certain strategies to
  enforce the rights of the Parties as Lenders under the First Lien Credit Agreement ("Strategies"),
  the Parties have agreed to enter into this Agreement.

                  1.     Cooperation. For so long as this Agreement is in effect, the Parties shall,
  in good faith, work together to identify and implement courses of action for the purpose of
  maximizing the recoveries of the Parties in respect of the Lender Claims. The Parties

  t "First Lien Credit Agreement" means the Amended and Restated First Lien Secured Super-Priority Debtor in
  Possession and Exit Credit and Guaranty Agreement dated as of March 30, 2007 and amended and restated as of
  May 15, 2007, and as further amended, modified or supplemented through April 17, 2008 (including, without
  limitation, as set forth in Amendment No.3 to Credit Agreement and Consent dated as of April 17,2008), by and
  among Allied Holdings, Inc. and Allied Systems, Ltd. (L.P.), as Borrowers, certain Subsidiaries of Borrowers, as
  Subsidiary Guarantors, various Lenders, Goldman Sachs Credit Partners L.P., as Lead Arranger and Syndication
  Agent, and The CIT Group/Business Credit, Inc. ("CIT"), as Administrative Agent and Collateral Agent.
  "Second Lien Credit Agreement" means the Second Lien Secured Super-Priority Debtor in Possession and Exit
  Credit and Guaranty Agreement dated as of May 15, 2007 (as amended, modified or supplemented from time to
  time), by and among Allied Holdings, Inc. and Allied Systems, Ltd. (L.P.), as Borrowers, certain Subsidiaries of
  Borrowers, as Subsidiary Guarantors, various Lenders, and Goldman Sachs Credit Partners L.P., as Lead Arranger
  and Syndication Agent, Administrative Agent and Collateral Agent.
  The First Lien Credit Agreement and the Second Lien Credit Agreement are collectively referred to herein as the
  "Credit Agreements."
  Capitalized terms used but not specifically defined herein shall have the meanings ascnbed to them in the First Lien
  Credit Agreement.

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   acknowledge and agree that such courses of action may include the exercise of rights attendant to
   the Lender Claims and/or claims held by any Party under the Second Lien Credit Agreement.

                   2.    ~ Transfer of Lender Claims. (a) For so long as this Agreement is in effect,
  except as specifically set forth below in this Paragraph 2, each Party shall not (i) grant any
  proxies to any' person in connection with its Lender Claims except as limited by this Agreement
  and otherwise consistent with the terms hereof, or, (ii) sell, transfer, assign, further pledge,
  further encumber or otherwise dispose of its Lender Claims, except with the prior written
  consent of all Parties to this Agreement to a party that agrees in writing (A) to assume such
  Party's Lender Claim, and (B) to be subject to the terms and conditions of this Agreement. Any
  such transfer, sale, assignment, further pledge, further encumbrance or other disposition by a
  Party of all or a portion of itS Lender Claims that is not in compliance with the terms of this
  Agreement shall be void ab initio. Subject to Paragraph 3 hereof: this Agreement shall in no way
  be construed to preclude any Party from acquiring additional Lender Claims, provided that any
  such Lender Claim so acquired shall thereafter be subject to this Agreement.

                 (b) Notwithstanding the foregoing, a Party (a "Selling Party") may sell, transfer
  or otherwise dispose of its Lender Claims as follows:

                 (i) to any affiliate, or to one or more funds, managed accoUnts or entities that are
  under common management or control with the Selling Party (in which case such Lender Claims
  shall remain subject to the terms of this Agreement); or

                      (ii) to any third party so long as:

                   (A) prior to such sale, transfer or disposition, such Selling Party shall have offered
          to sell its Lender Claims to the other Parties hereto pursuant to a written notice setting
          forth the terms and conditions on which the Selling Party is prepared to sell its Lender
          Claims (including price) (an "Offer"). The non-selling Parties shall have five (5)
          business days (the "Offer Period") to accept the Offer in writing and to execute a binding
          -commitment to purchase such Lender Claims. If the Offer is not timely accepted in
          writing and a binding commitment timely executed, subject to compliance with clause B
          of this Paragraph 2(b)(ii), the Selling Party shall be entitled to sell, transfer or otherwise
          dispose of its Lender Claims to any third party free and clear of any obligations set forth
          in this Agreement on terms and conditions no less favorable to the Selling Party than
          those set forth in the Offer. If the Selling Party does not enter into a binding commitment
          for the sale, transfer or disposition of its Lender Claims within thirty (30) days after the
          expiration of the Offer Period, prior to any sale, transfer or disposition thereafter the
          Selling Party must extend a new Offer to the other Parties hereto in accordance with this
          ]?aragraph 2(b)(ii); and

                   (B) if the Offer of any Selling Party is not timely accepted by one or more non-
          selling Parties and the Selling Party determines to sell, transfer or otherwise dispose of
          its Lender Claims to a third party, in connection with such sale, transfer or other
          disposition the proposed third party purchaser must agree in writing to include in such
          sale, transfer or other disposition of the Selling Party's Lender Claims all of the Lender

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           Claims of all other Parties hereto on identical terms and conditions. In furtherance
           thereof, such third party purchaser shall make an offer in writing to each non-selling
           Party, and such non-selling Parties shall have five (5) business days to accept the offer in
           writing and to execute a binding commitment to sell its Lender Claims.

                  3.      Purchase of Lender Claims. If any Party (or any affiliate of any Party)
  acquires (directly or indirectly), or is offered the opportunity to acquire (directly or indirectly),
  any additional Lender Claims (an "Additional Claim Purchase"), such Party shall (or, as
  applicable, shall cause its affiliate to) offer in writing to each of the other Parties hereto the
  opportunity to acquire such other Party's ratable share of the Lender Claims subject to the
  Additional Claim Purchase, on the same terms and conditions. The offer to the other Parties
  hereto may be made prior to or after consummation of the Additional Claim Purchase, but in no
  event later than five (5) business days following consummation of the Additional Claim
  Purchase.

                   4.     Communication with Yucaipa or Borrowers. Each Party agrees to
  disclose to all other Parties to the Agreement all communications (including the substance
  thereof) between the Party and either (a) Yucaipa American Alliance Fund I, LP, Yucaipa
  American Alliance (parallel) Fund I, LP or any affiliate thereof(collectively, the "Yucaipa
  Entities"), (b) the Borrowers or any affiliate thereof, or (c) any person named as agent under any
  of the Loan Documents, in each case relating to the Borrowers, the Guarantors, the First Lien
  Credit Agreement or the Lender Claims. Such disclosure shall be made promptly and within a
  reasonable period oftime after such communication in accordance with the Notice provisions
  below.

                   5.    Confidentiality. Each Party agrees that, without obtaining the prior
  approval of each other Party (such approval not to be unreasonably withheld or delayed), or
  except as may be required by applicable law or regulation or by relevant legal, administrative, or
  regulatory authorities or otherwise in connection with any judicial, regulatory or administrative
  proceeding or investigation, no Party will (i) issue a press release or other public statement
  relating to this Agreement, the Strategies, or any matters related thereto, or (ii) otherwise
  disclose to any third party (other than each Party's principals, employees, members, partners,
  funding sources, attorneys, auditors, professional advisors, limited partners or Affiliates who
  need to know) any non-public information regarding the Strategies, or disclose any of the terms
  of this Agreement, without, in each case, the prior written consent of each other Party.

                 6.      Representations and Warranties. Each Party represents, warrants and
  covenants to the other Parties that:

                        (a)     such Party has all requisite power and authority to execute and
  deliver this Agreement and to perform its obligations under this Agreement and that such Party
  has duly authorized such execution, delivery and performance;

                          (b)    this Agreement, when executed and delivered by such Party, will
  constitute a valid and binding agreement of such Party, enforceable against such Party in
  accordance with its terms,

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                           (c)     neither the execution or delivery by such party of this Agreement
  nor purSuit of the Strategies will violate or be in conflict with (i) any provisions of law or
  regulation applicable to such Party, (ii) any order of any court or government agency having
  jurisdiction over such Party, or (ill) any agreement or instrument to which such Party or any of
  its Affiliates is a party or to which such Party or any of its Affiliates may be bound;

                        (d)    such Party owns or controls, with power to vote, the principal
  amount of First Lien Obligations and Second Lien Obligations set forth on the signature pages
  hereto; and

                        (e)    it shall not take, directly or indirectly, any action that could
  reasonably be expected to adversely impact the recoveries (either in dollar amount of form) on
  account of the Lender Claims, or induce or support any other person to do so.

                  7.     Expenses. Each Party shall timely pay its pro rata share of all costs and
  expenses incurred in (a) developing and implementing the Strategies, and (b) any action or
  proceeding arising therefrom or relating thereto, in accordance with that certain Engagement
  letter between and among the Parties and Schulte Roth & Zabel LLP ("SRZ"), dated as of
  November 9,2009, regardless of whether this Agreement shall have terminated in accordance
  with Paragraph 16 hereof. NotwithStanding the above, any waiver, forgiveness or discount of
  legal fees granted to one of the Parties by SRZ shall be equally applicable to the other Party,
  mutatis mutandis, and shall be attested to by such Party and SRZ.

                   8.      Governing Law; Submission to Jurisdiction; Waiver of Jury Trial;
  Remedies. This Agreement is governed by the laws of the State of New York, without reference
  to principles of choice or conflict oflaws other than Section 5-1401 of the New York General
  Obligations Law. Each of the Parties agrees that any legal action or proceeding with respect to
  this Agreeinent may be brought in the federal and state courts located in the State of New York,
  and, by execution and delivery of this Agreement, each Party hereby irrevocably submits itself in
  respect of its property, generally and unconditionally, to the exclusive jurisdiction of the
  aforesaid courts in any legal action or proceeding arising out of or relating to this Agreement.
  Each of the Parties hereby irrevocably waives any objection which it may now or hereafter have
  to the laying of venue of any of the aforesaid actions or proceedings arising out of or in
  connection with this Agreement brought in the courts referred to in the preceding sentence. Each
  of the Parties hereby irrevocably waives the right to a trial by jury in connection with any matter
  arising out of or relating to this Agreement. The Parties acknowledge that money damages may
  not be a sufficient remedy for any breach of this Agreement by any Party. Accordingly, in the
  event of any such breach or threatened breach, each non-breaching Party, in addition to any other
  remedies at law or in equity that it may have, shall be entitled, without the requirement of
  posting a bond or other security, to seek equitable reliet: including injunctive relief or specific
  performance or both.

                      9.   Notices.

                         (a)     All demands, notices, requests, consents, and communications
  hereunder shall be in writing and shall be deemed to have been duly given if personally delivered

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   by courier service, messenger, telecopy or electronic mail at, or if duly deposited in the U.S.
   mail, by certified or registered U.S. mail, postage prepaid, return receipt requested, to the
   following addresses, or such other addresses as may be furnished hereafter by notice in writing,
 . to the following Parties:

                         (i)    in the case of Black Diamond, to:

                                1 Sound Shore Drive, Suite 200
                                Greenwich, Connecticut 06830

                                Attention: Richard Ehrlich
                                Telephone: (203) 552-0888
                                Facsimile: (203) 552-1014
                                Email: rehrlich@bdcm..com

                                with a copy (which shall not constitute notice) to:

                                Schulte Roth & Zabel LLP
                                919 Third Avenue
                                New York, New York 10022

                                Attention: Adam Harris, Esq.
                                Telephone: (212) 756-2253
                                Facsimile: (212) 593-5955
                                Email: adam.harris@srz.com

                        eii)    in the case of Spectrum, to:

                                1250 Broadway
                                New York, New York 10001

                                Attention: Jeffrey A. Schaffer
                                Telephone: (212) 687-9555
                                Facsimile: (212) 983-2322
                                Email: jschaffer@spectrumgp.com

                                Attention: Stephen C. Jacobs
                                Telephone: (212) 687-9555
                                Facsimile: (212) 983-2322
                                Email: sjacobs@spectrurogp.com

                                with a copy (which shall not constitute notice) to:




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                                  Schulte Roth & Zabel LLP
                                  919 Third Avenue
                                  New York, New York 10022

                                  Attention: Adam Harris, Esq.
                                  Telephone: (212) 756-2253
                                  Facsimile: (212) 593-5955
                                  Email: adam.harris@srz.com·

                           (b)      All demands, requests, consents, notices and communiCations shall
   be deemed to have been given either (i) at the time of actual delivery thereof, or (ii) if given by
   certified or registered mail, five (5) business days after certification or registration thereof, or
   (iii) if given by facsimile, upon receipt of confirmation of transmission to the recipient. For
   purposes of this Agreement, the term "'business day" means any calendar day other than
   Saturday, Sunday or any other day on which banking institutions in New York, New York are
   not required to be open.

                   10.     Amendments; Waivers. (a) No waiver and no amendment of any
   provision of this Agreement shall be effective unless such waiver or amendment is in writing and
   signed by the Party against whom it is sought to be enforced, and then such waiver or
   amendment shall be effective only in the specific instance and for the specific purpose for which
   given, (b) no failure on the part of any Party hereto to exercise and no delay in exercising, any
   right hereunder or under any related document shall operate as a waiver thereof by such Party,
   and (c) any single or partial exercise of any right hereunder or under any other related document
   shall not preclude any other or further exercise thereof or the exercise of any other right.

                  11.     Further Assurances. The Parties undertake to use their commercially
   reasonable efforts to execute, deliver, and perform in good faith any agreements as may be
   necessary or desirable to accomplish the actions contemplated by this Agreement.

                 12.     Entire Agreement. This Agreement sets forth the entire agreement and
  understanding among the Parties relating to the subject matter hereof and supersedes all other
  prior agreen1ents, discussions and documents with respect thereto. No Party shall be bound by
  any terms, conditions, definitions, warranties, understandings or representations with respect to
  the subject matter hereof other than as expressly provided for in this Agreement and except as
  may hereafter by agreed to in a writing signed by such Party.

                 13.    Merger. Each Party confirms that it has not executed this Agreement in
  reliance on any promise or representation or warranty (not contained herein) by the other Parties
  concerning the subject matter hereof.

                   14.     Captions and Headings. The captions and headings in this Agreement are
  for convenience only and (a) are not intended to be full or accurate descriptions of the contents
  thereof, (b) are not to be deemed to be part of this Agreement, and (c) in no way define, limit,
  extend or describe the scope or intent of any provisions hereof.


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                   15.     Counterparts. 'This Agreement may be executed in counterparts, each
   counterpart when so executed and delivertxl constituting an original, but all such counterparts
   together shall constitute one and the same instrument.

                   16.    Consideration. Each Party hereto acknowledges the receipt and
   sufficiency of good and valuable consideration in ex.change for its agreement to undertake its
   duties and obligations under this Agreement.

                   17.     Termination. This Agreement shall terminate as to all Parties and be of no
   further force and effect (except as otherwise set forth herein) on the earliest to occur of the
   following: (a) the mutual agreement of all of the Parties, (b) the date on which any Party sells,
   transfers or otherwise disposes of its Lender Claims in accordance with Paragraph 2(b)(ii) of this
   Agreement, (c) the sale of all or substantially all of the assets of the Borrowers and/or
   Guarantors, (d) if the Borrowers and/or Guarantors become debtors under Chapter 11 of the
   Bankruptcy Code, the earliest to occur of (i) the substantial consummation of a plan of
   reorganization confinned in accordance with the requirements of Chapter 11 of the Bankruptcy
   Code, (ii) the entry of a final non-appealable order confirming a plan of reorganization, and (iii)
   the entry of an order converting the cases to cases under chapter 7 of the Bankruptcy Code.

                 18.    Survival. The provisions of Paragraphs 5, 7 and 8 of this Agreement shall
  survive the termination hereof.

                  Please acknowledge your agreement to the foregoing by executing this Agreement
  in the space set forth below, whereupon this Agreement will become a binding contract among
  the parties hereto.



                             [SIGNATURES ON FOLLOWING PAGE]




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                               BLACK DIAMOND CLO 2005-1 LTD.
                               BLACK DIAMOND CLO 2005-1 ADVISER,           /
                               L.L.C., as its Collateral Manager

                               By:               :id
                               Name: Stephen H. Deckoff
                               Title: Managing Principal

                               First Lien Obligations:
                               $ 4,544,511.51
                               Second Lien Obligations: $_ _ _ _ _ __




                               BDCM OPPORTUNITY FUND II, L.P.
                               BDCM OPPORTUNITY FUND II ADVISER,           /
                               L.L.C., as its Investment Maniftter

                               By:             :i~
                               Name: Stephen H. Deckoff
                               Title: Managing Principal

                               First Lien Obligations:
                               $        Z.~l S"2.,b 37. l 'O
                               Second Lien Obligations: $_ _ _ _ _ __




                               SPECTRUM INVESTMENT PARTNERS, L.P.
                               By: _____________________
                               Name:
                               Title:

                               First Lien Obligations: $--,-_ _ _ _ _ __
                               Second Lien Obligations: $
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                                BLACK DIAMOND CLO 2005-1 LTD.
                                BLACK DIAMOND CLO 2005-1 ADVISER,
                                L.L.C., as its Collateral Manager
                               By: ____________________________
                               Name:
                               Title:

                               First Lien Obligations: $_ _ _ _ _ _ __
                               Second Lien Obligations: $_ _ _ _ _ __




                               BDCM OPPORTUNITY FUND II, L.P.
                               BDCM OPPORTUNITY FUND II ADVISER,
                               L.L.c., as its Investment Manager

                               By:_-------------------
                               Name:
                               Title:

                               First Lien Obligations; $~_ _ _ _ __
                               SecondLien Obligations: $_ _ _ _ _ _ __




                               SPECTR~INVES
                                       TP ERS, L.P.                                      ..1-   I    .J   .I
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                               By: --~,~~~~~------                                                        U
                               Name: 4Ffi£y    SCH~    II .
                               Title: M~Al:r- k~Ui~

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                               Second Lien Obligations: $     5:000 000
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